Case 1:19-cv-11887-TLL-PTM ECF No. 1-2, PageID.23 Filed 06/25/19 Page 1 of 37

                                                                                                    B
                             STATE OF MICHIGAN
              IN THE CIRCUIT COURT FOR THE COUNTY OF GRATIOT



In the Matter of the Petition of the
Gratiot County Treasurer for
Foreclosure of Certain Parcels of                              Case No. 16-0111-CH
Property Due to Unpaid 2014 and                                Honorable Randy L. Tahvonen
Prior Years' Taxes, Interest, Penalties
And Fees.
------------------------~'

                       JUDGMENT OF FORECLOSURE AND ORDER                             FILED
                        At a session of court held February 21, 2017 at the
                                 Courthouse in Ithaca, Michigan.
                                                                                          FEB 2 1 2017
                                                                               29th CIRCUIT
                  PRESENT: The Honorable Randy L. Tahvonen, Circuit Judge _..=.::..._~:..c..;;----:.,:_-
                                                                          GRATIOT COUNTY

        This matter was initiated with the filing of a Petition on or about June 10, 2016. The
Petition identified parcels of property forfeited to the Gratiot County Treasurer under MCL
211.78g for unpaid 2014 and prior years' taxes and set forth the amount of the unpaid delinquent
taxes, interest, penalties, and fees for which each parcel of property was forfeited. The Petition
sought a judgment in favor of petitioner Gratiot County Treasurer for the forfeited unpaid
delinquent taxes, interest, penalties, and fees listed against each parcel of property. The Petition
further sought a judgment vesting absolute title to each parcel of property in the petitioner,
without right of redemption, as to parcels of property not redeemed on or before March 31, 2017.

        Petitioner on February 21, 2017 filed an Amended Schedule A which is a list of those
parcels which remain unpaid or have not been withheld from foreclosure, as of the date of this
hearing, and are subject to foreclosure in this action.

         Petitioner has filed with the clerk of the court proof of service of the notice of show cause
hearing and notice and notice of foreclosure hearing, proof of publication, and proof of personal
visit, as required by MCL 211.78k(l), for each remaining parcel.

       A hearing on the Petition and objections thereto was held on Tuesday, January 24, 2017,
at which time all parties interested in the forfeited properties were heard.

       The Court finds that those parties entitled to notice and an opportunity to be heard have


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  been provided that notice and opportunity.

          THEREFORE, IT IS ORDERED:

           (a)     The amount of forfeited delinquent taxes, interest, penalties, and fees set forth in
  the list of foreclosed property attached to this Judgement is valid and judgment of foreclosure is
  entered in favor of petitioner against each parcel of property, separately, for payment of the
  amount set out against the parcel.

          (b)     Fee simple title to each parcel foreclosed upon by this Judgment will vest
  absolutely in petitioner, subject to the limitations of paragraphs (c) and (d), below, without any
  further rights of redemption, if all forfeited delinquent taxes, interest, peD.alties, and fees
  foreclosed against the parcel, plus any additional interest required by statute, are not paid to the
  County Treasurer on or before March 31,2017..

             (c)     All liens against each parcel, including any lien for unpaid taxes or special
     assessments, except future installments of special assessments and liens ~ecorded by the State or
     the petitioner pursuant to the Natural Resources and Environmental Protection Act, 1994 PA
:' · 451, MCL 324.101, et seq., are extinguished, if all forfeited delinquent taxes; interest, penalties,
     and fees foreclosed against the parcel, plus any additional interest requir~d by statute, are not
     paid to the County Treasurer on or before March 31,2017.

           (d)     All existing recorded and unrecorded interests in each parcel are extinguished
  except: (1) a visible or recorded easement or right-of-way. (2) private deed restrictions, (3)
  restrictions or other governmental interests imposed pursuant to the Natural Resources and
  Environmental Protection Act, supra, (4) interests of a lessee or an assignee of a lessee under an
  oil or gas lease recorded before the date of filing of the Petition in this action, and (5) interests
  preserved under §1 (3) of the dormant minerals act, 1963 PA 42, MCL 554.291(3), and interests
  in property assessable as personal property under MCL 211.8(g) if all foifeited delinquent taxes,
  interest, penalties, and fees foreclosed against the parcel, plus any additional interest required by
  statute, are not paid to the County Treasurer on or before March 31, 2017.

          (e)     Petitioner has good and marketable fee simple title to each parcel, subject to the
  limitations of paragraphs (c) and (d), above, if all forfeited delinquent ~es, interest, penalties,
  and fees foreclosed against the parcel, plus any additional interest required by statute, are not
  paid to the County Treasurer on or before March 31, 2017.

          (f)   This is a final order with respect to each parcel affected by this Judgement and
  unless appealed pursuant to MCL 211. 78k(7) shall not be modified, stayed, or held invalid after
  March 31, 2017.



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        (g)      Twelve (12) of the parcels of property listed in Amended Exhibit A are granted an
                 extension oftime in which to pay all delinquent taxes, interest, penalties and fees.
                 For these twelve (12) parcels all the provisions of the order remain in full force
                 and effect, with the exception that the date of March 31, 2017 referenced in
                 paragraphs a- f above shall be March 31, 2018. These twelve (12) parcels are:

   i)   Parcel: 01-017-017-00           Address: 4272 W. Birmingham Rd. Alma, Mi 48801

              WD L 464 P 296 & 1059 COM 8 RDS W OF SECOR OF SW 1/4 OF NE 1/4, TH N
              20 RDS, W 4 RDS, S 20 RDS, E 4 RDS TO BEG, & COM 1'524.73 FT W OF.E 1/4
              COR, TH W 34FT, N 435.6 FT, E 100FT, S 105.6 FT, W 66FT, S 330FT TO POB,
              SEC 17-11-3. 1 A.

   ii) Parcel: 02-018-046-01            Address: 9300 N. State Rd. St. Louis, Mi 48880

            COM 500FT N OF SW COR OF SEC, TH N 378 FT, E 206.25 FT, S 378 FT, W
          . 206.25 FT TO BEG EX S 150FT, SEC 18-12-2. 1.87 A. BETHANY TWP.,
            GRATIOT COUNTY.

   iii) Parcel: 07-016-013-10           Address: 8929 E. Tyler Rd. Breckenridge, Mi 48615

              BEG 264FT W OF SECOR OF SEC, TH N 349FT, W 406FT, S 65FT, E 162FT,
              S 284 FT, E244 FTTO POB, SEC 16-11-1.2.20 A. LAFAYETTE TWP.,
              GRATIOT COUNTY.

   iv) Parcel: 11-015-029-00            Address: 107 E. Gratiot St. North Star; Mi 48862

              COM 10 RDS E OF SW COR OF SEC, TH N 14 RDS, E 5 112 RDS, S 14 RDS, W 5
              1/2 RDS TO BEG, SEC 15-10-2.0.49 A.

   v)   Parcel: 11-032-012-00           Address: E. Grant Rd. (Vacant) Ithaca, Mi 48847

              DEED L 592 P 550 SW 1/4 OF SE 1/4 EX W 5 A SEC 32-10-2. 35 A.

   vi) Parcel: 13-650-003-60            Address: N Maple St. (Vacant) Riverdale, Mi 48877

              G S WARD'S ADD TO RIVERDALE, PART OF LOT 3 DESC AS COM 132FT N
              OF SECOR OF    LOT 3, TH W 65 FT, N 50FT, E 65 FT, S 50 FT TO BEG.
              SEVILLE TOWNSHIP, GRATIOT COUNTY

   vii) Parcel: 42-301-004-00           Address: 118 E. Saginaw St. Breckenridge, Mi 48615

              ASSESSOR'S PLAT OF SOUTH BRECKENRIDGE, LOT 4 EX W 1.25 FT, BLK 1.

   viii) Parcel: 51-343-001-00          Address: 918 Pine Ave Alma, Mi 48801

              GARGETT ADDmON, SEC 34-12-3, LOT 8, BLOCK 46 ..

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   ix) Parcel: 51-970-010-13         Address: 503 N. State St. Alma, Mi 48801

           COM 462FT N OF SECOR OF SW 1/4 OF SW 1/4 SEC 34-12-3 TH W 229.5 FT N
           107.74 FT, E 229.5 FT, S 107.74 FT. TO BEGlNNING.

   x)   Parcel: 51-971-010-13        Address: 503 N. State St. Alma, Mi 48801

           COM462FTNOF SECOR OF SW 114 OF SW 1/4 SEC34-12-3 THW229.5 FTN
           107.74 FT, E 229.5 FT, S 107.74 FT. TO BEGlNNING.

   xi) Parcel: 53-010-114-00         Address: 220 W. Washington Ave. St. louis, Mi 48880

           WD L 552 P 594 & 595 LOTS 5 & 6, & S 1/2 OF LOT 4, & BEG N 1.02 FT FROM
           SW COR OF LOT 9, TH N 56 DEG 57' E 5.5 FT, TH N 74 DEG 28' E 4.9 FT, TH
           N 38 DEG 40' 30" W 10.89 FT, W 2.54 FT, S 12.8 FT TO POB, BLOCK 34, CITY
           OF STLOUIS.

   xii) Parcel: 53-010-117-10        Address: W. Washington Ave. (Vacant) St. louis, Mi 48880

           WD L 552 P 594 COM 132FT W OF SECOR OF BLK 34, TH W 33 FT, N 62FT
           10 IN, E 33FT, S 62FT 10 IN TO POB, BEING PART O.F LOT 7, BLK 34. CITY
           OF STLOUIS.


        This Judgment resolves the last pending claim and closes the case.



Dated: February21, 2017
                                                    >.V>.nuY L. TAHVQNEN (P23411)
                                                    Gratiot County Circilit Judge




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                                                           GRATIOT COUNTY            Page1/7
                                                                                           5 of 37
                                                                                                        DB;    Real
BY: mthomas                   Tax Year: 2014 Calculated as of: 02/21/2017 Exclude Personal Property
                                                     Foreclosed Taxes EXCLUDED

                                                                                    Oct Fee/    Title          Other
Parcel                          Year Status     Base Tax       Intrst     Admin     Sale Exp     Srch           Fees      Total
01-009-008-10                2014 FRF         791.33           284.88     31.65                               137.00   1,244.86
WOOD KATHLEEN M      4481 N ALGER RD ALMA MI 48801

81 817 817 oo w{     H          2o14 FRF         361.67     13o.2o        14.47                                30.00     536.34
CRISPIN JERRY A & KAY R         4272 W BIRMINGHAM RD ALMA MI 48801

01-018-005-00                   2014 FRF          173.19        62.35      6.93                                30.00     272.47
FOX THOMAS A      PO BOX 301 ALMA MI 48801

01-020-005-00             2014 FRF              1,272.77     458.19       50.91       15.00    175.00         147.00   2,118.87
GARCIA ANDRES M & REBECCA FAWCETT          2771 N LUCE RD ALMA MI 48801

01-020-022-00                   2014 FRF         391.34     140.88        15.65        15.00   175.00         147.00     884.87
BARBER WILMER & KATHRYN         3796 E ROOSEVELT DR. ASHLEY MI 48806

01-020-039-00               2014 FRF         283.85            102.18     11.35                140.00         147.00     684.38
HUNT JOSHUA L     2556 N ELY HWY ALMA MI 48801

01-034-017-30                   2014 FRF          492.07       177.15     19.68                                80.00     768.90
COLBURN VAN H & CHERYL L         133 PINE DR ITHACA MI 48847

02-004-002-00                2014 FRF       1,378.94     496.42           55.16       15.00    175.00         147.00   2,267.52
JOHNSON DEBORAH A      11977 RIVERSIDE DR. ST LOUIS MI 48880

02-018-012-00                   2014 FRF          901.54       324.55     36.06       15.00    175.00         147.00   1,599.15
BAXTER BENJAMIN E & JAIME L         PO BOX 452 GOBLES MI 49055

8i2 818 9H Ql ~~     H-   2014 FRF       2,013.30              724.79     80.53       15.00    175.00         147.00   3,155.62
CIZEK FRANK   930b N STATE RD SAINT LOUIS MI 48880

03-002-011-20                   2014 FRF         570.99      205.56       22.84       15.00    175.00         147.00   1,136.39
MINGE TIMOTHY LEE         6117 W COLDWATER FLUSHING MI 48433

04-001-004-20                   2014 FRF       1,202.40     432.87        48.10        15.00   175.00         147.00   2,020.37
MURPHY KEVIN & SHERI         5564 N BLAIR RD BRECKENRIDGE MI 48615

04-005-012-20                2014 FRF       1,450.60      522.21          58.02        14.91   175.00         147.00   2,367.74
WILSON STACIE      5219 N ROYCE ROAD SAINT LOUIS MI 48880

04-006-027-00                   2014 FRF         860.34        309.72     34.41        15.00   175.00         147.00   1,541.47
VAN DEMARK BERNARD         10080 W POLK RD SUMNER MI 48889

04-018-012-10                2014 FRF       1,533.71     552.14      61.35      15.00          175.00         147.00   2,484.20
ARGO REALITY CO     SHSHANA GOLD 24123 GREENFIELD RD STE 201. SOUTHFIELD MI 48075-3140

04-035-005-00                2014 FRF         595.72     214.46           23.83        15.00   175.00         147.00   1,171.01
COX NICHOLAS      323 S MARQUETTE RD PRAIRIE DU CHIEN WI 53821

05-007-071-00
GUERNSEY STEVEN D
                                2014 FRF         395.29
                          317 HOWELL ST MIDDLETON MI 48856
                                                               142.30     15.81                                30.00
                                                                                                                       6)
05-007-077-00                 2014 FRF         858.45          309.04     34.34                139.52         147.00   1,488.35
SNIDER LOU ANNE      220 .S NEWTON ST MIDDLETON MI 48856

05-017-003-00             2014 FRF          19.71       7.10       1. 00                                       80.00     107.81
HENSLEY JOHNIE RAY & TAMARA L   4495 W CLEVELAND RD PERRINTON MI 48871

05-110-010-00                2014 FRF         885.39           318.74     35.42        15.00   175.00         147.00   1,576.55
VOGEL PAMELA      516 NEWTON STREET MIDDLETON MI 48856

05-116-003-01                   2014 FRF       2,316.76        834.03     92.67                                80.00   3,323.46
CLAEYS MICHAEL RAY         211 ELM MIDDLETON MI 48856

05-220-044-00                   2014 FRF       1,133.39     408.02        45.34        15.00   175.00         147.00   1,923.75
KIRT JOHNATHAN      PO BOX 64     103 THIRD ST POMPEII MI 48874

05-220-078-00                2014 FRF       1,405.05           505.82     56.20        15.00   175.00         147.00   2,304.07
DANFORD HEIDI      PO BOX 113 POMPEII MI 48874

05-220-093-00             2014 FRF       1,396.90     502.89              55.88        15.00   175.00         147.00   2,292.67
SANDOVAL ROBERTO & ANDREA   510 W. CLEVELAND RD ASHLEY MI 48806

05-400-172-00             2014 FRF                 349.12     125.68      13.96        15.00   175.00         147.00     825.76
LIENERTH DANIEL M & HEATHER MCKENZI           8468 ROSSMAN HWY DIMONDALE MI 48821

05-640-022-00                   2014 FRF         355.38        127.94     14.22        15.00   175.00         147.00     834.54
WHITEHERSE LAURA R         865 S WARREN RD OVID MI 48866

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                                                                                                       Page: 6 of 37
BY: rnthomas                                                                                            DB:    Real
                              Tax Year: 2014 Calculated as of: 02/21/2017 Exclude Personal Property
                                                     Foreclosed Taxes EXCLUDED
                                                                                   Oct Fee/    Title           Other
Parcel                          Year Status      Base Tax      Intrst      Admin   Sale Exp     Srch            Fees      Total
05-760-036-01                   2014 FRF       1,402.15     504,78         56.09                              137.00   2,100.02
BUSCEMI RICHARD & KERI         9946 HIGHLAND DR PERRINTON MI 48871

05-825-035-00                   2014 FRF         262.66      94.56      10.51         15.00   175.00          147.00     704.73
EASLICK MICHAEL E         100 SAND HILL MANOR DR., APT 8 HOUGHTON LAKE MI 48629

05-825-353-00                   2014 FRF           705.75     254.07       28.23                               30.00   1,018.05
CASSADY JAIME J & JAMEE D         10420 OAKRIDGE OR PERRINTON MI 48871

05-825-542-00               2014 FRF         150.20            54.07        6.01     15.00    175.00          147.00     547.28
FEDEWA DAVID P    530 N MAIN ST BOX 101 FOWLER MI 48835

06-036-005-00               2014 FRF         454.75           163.71       18.19               11.34          147.00     794.99
MAHONY EILEEN T     7308 LANE DETROIT MI 48209

97 CHI OB 1St WI     H.   2014 FRF       1,059.30     381.35      42.37               15.00   175.00          147.00   1,820.02
SMALL DONNA M & B~ACHLER DAVID L   8929 E TYLER RD BRECKENRIDGE MI 48615

07-024-002-00                   2014 FRF         594.41     213.99         23.78      15.00   175.00          147.00   1,169.18
TAYLOR RICKY D & PEGGY L         2837 S MERIDIAN RD MERRILL MI 48637

09-007-016-10                  2014 FRF         988.15     355.74          39.53     15.00    175.00          147.00   1,720.42
WOLLET CARL & MELISSA        2104 N CANAL RD EATON RAPIDS MI 48827

09-017-010-00             2014 FRF       1,523.48     548.46      60.94              15.00    175.00          147.00   2,469.88
HALL LLOYD ROBERT, JR & CAROL   10211 W BUCHANAN RD SUMNER MI 48889

09-020-006-00             2014 FRF      1,081.05     389.18      43.24       15.00            175.00          147.00   1,850.47
HALL LLOYD ROBERT, JR & CAROL CRAIG HALL 10211 W BUCHANAN RD SUMNER MI 48889

10-035-002-10             2014 FRF       950.76     342.27      38.03                15.00    175.00          147.00   1,668.06
WISE STANLEY E & LOUELLA M 11280 S PINGREE ROAD PERRINTON MI 48871

11-013-009-00              2014 FRF       1,498.49     539.46              59.94      15.00   175.00          147.00   2,434.89
GINGRICH JOHN F & ANGELA S    2498 S WISNER RD ITHACA MI 48847

11-015-024-00                2014 FRF         894.81           322.13      35.79      15.00   175.00          147.00   1,589.73
BOHNETT WILLIAM      4104 E JOHNSON RD ITHACA MI 48847

H Bl5 8"9 ca..   W/ H
GOWARD RANDY & STARIA
                                2014 FRF       1,155.65
                              PO BOX 85 NORTH STAR MI 48862
                                                            416.04         46.23                              100.00   1,717.92


11-022-006-00                   2014 FRF         144.22      51.92          5.77      15.00   175.00          147.00     538.91
COOK ROBERT & JAMES COOK         215 WALNUT ST ALMA MI 48801

11-022-007-00                   2014 FRF          83.02      29.88          3.32      15.00   175.00          147.00     453.22
COOK ROBERT & JAMES COOK         215 WALNUT ST ALMA MI 48801

11-022-018-00
MORRIS JASON & ASHLEY
                                2014 FRF       1,259.68
                              203 S MAIN ST ITHACA MI 48847
                                                            453.48         50.39      15.00   175.00          147.00
                                                                                                                       G
L1 03£ 012 0"0 W[    H    2014 BKR           4. 81      1. 73               1.00      15.00   175.00           60.00     257.54
GAVENDA STEVEN J & MARCIA J   1527 E GRANT RD ITHACA MI 48847

12-070-010-00                   2014 FRF         859.07        309.27      34.36      15.00   175.00          147.00   1,539.70
KRANTZ DAWN MARIE         7375 N FERRIS RD ELWELL MI 48832

13-004-008-02             2014 FRF                  250.21      90.08      10.01      15.00   175.00          147.00     687.30
SMITH WILLIAM SHANE & HEATHER DAWN            1301 ROSEDALE STREET ALMA MI 48801

13-018-008-01                 2014 FRF      1,203.13      433.13           48.13      15.00   175.00          147.00   2,021.39
HANSEN TERRY      11399 N JEFFERSON RD RIVERDALE MI 48877

13-026-006-10                2014 FRF         735.43           264.75      29.42                               80.00   1,109.60
FREED DONALD E      7706 N BLISS RD ELWELL MI 48832

13-029-009-00                   2014 FRF       1,463.47      526.85        58.54      15.00   175.00      ,147.00      2,385.86
HOSKEY KELLY LOUISE         7896 N FERRIS RD ELWELL MI 48832

13-030-023-00                2014 FRF         958.50           345.06      38.34      15.00   175.00          147.00   1,678.90
ROSE PRESTON      7013 LUMBERJACK RIVERDALE MI 48877

13-030-025-10             2014 FRF         734.06    "264.26               29.36      15.00   175.00          147.00   1,364.68
BRUSH JAMES   7260 NW COUNTY LINE RD RIVERDALE MI 48877

13-036-002-30                   2014 FRF         931.93      335.49        37.28      15.00   175.00          147.00   1,641.70
MCCREERY SCOTT T' & JILL        6579 N RICH RD ALMA MI 48801

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                                                                                                      DB:    Real
BY: mthomas                Tax Year: 2014 Calculated as of: 02/21/2017 Exclude Personal Property
                                                     Foreclosed Taxes EXCLUDED

                                                                                 Oct Fee/    Title           Other
Parcel                       Year Status      Base Tax      Intrst      Admin    Sale Exp     Srch            Fees       Total
13-353-012-00             2014 FRF       1,091.99     393.12            43.68       15.00   175.00          147. DO   1,865.79
THOMPSON ZACHARY & ASHLEY   632 WRIGHT AVE ALMA MI 48801

13-404-001-00                2014 FRF         1,425.92      513.33      57.04       15.00   175.00          147.00    2,333.29
BEEBE DALE      6409 MILL ST RIVERDALE MI 48877

13-404-006-00              2014 FRF         580.03          208.81      23.20       15.00   175.00          147.00    1,149.04
BEEBE DALE    6409 MILL ST RIVERDALE MI 48877

13-404-019-00             2014 FRF         227.36            81.85       9.09      15.00    175.00          147. oo     655.30
BETZER DALE   PO BOX 51 RIVERDALE MI 48877-0051

13-406-003-00                2014 FRF           6.74        2.43         1. DO                               30.00       40.17
ROBINSON CYNTHIA A      11390 E PAKES ROAD CRYSTAL MI 48818

13-414-003-00                2014 FRF         229.48         82.62       9.18       15.00   175. oo         147.00      658.28
WINN PATRICK J      5508 8 MILE RO REMUS MI 49340

t3 aso vas ae   wf H         2014 FRF           9.51       3.42
                          6637 N MAPLE ST RIVERDALE MI 48877
                                                                         1. DO     15.00    175.00           60.00      263.93
LUMBERT TROY & JAMIE

14-002-009-00                2014 FRF         1,047.75      377.19      41.91      15.00    175.00          147.00    1,803.85
DETZLER NICOLE      7731 W LINCOLN RD ELWELL MI 48832

14-004-008-00               2014 FRF         686.44         247.12      27.46      15.00    175.00          147. DO   1,298.02
STEARNS JIM M     9787 W LINCOLN RD RIVERDALE MI 48877

14-006-016-00               2014 FRF            315.29     113.50       12.61                                30.00      471.40
WILES HENRY W     PO BOX 48 WINN MI 48896

14-013-001-00              2014 FRF           1,323.34      476.40      52.93      15.00    175.00          147. DO   2,189.67
FOX THOMAS    PO BOX 301 ALMA MI 48801

14-018-012-00             2014 FRF         291.08      104.79           11.64      15.00    175.00          147.00      744.51
KING DAWN M   6582 S GARLOCK ROAD CARSON CITY MI 48811

14-020-009-20             2014 FRF         874.76           314.91      34.99      15.00    175.00          147. DO   1,561.66
HUNT LYNN A   3378 N FERRIS ROAD SUMNER MI 48889

14-023-020-10                2014 FRF         903.56        325.28      36.14      15.00    175.00          147.00    1, 601.98
PICKENS JOHN E JR      2095 N PINGREE RD ALMA MI 48801

14-034-015-00             2014 FRF         431.95      56.15            17.28                                80.00      585.38
GRIFFIN ROBERT W & LEANN M   8520 W SAND RD SUMNER MI 48889

14-400-022-10                2014 FRF         667.98     240.48         26.72      15.00    175.00          147. DO   1,272.18
GLADDING MELISSA JANE      11430 W VAN BUREN RD RIVERDALE MI 48877

16-001-014-00                2014 FRF       2,558.32     921.00        102.33      15.00    175.00          147.00    3,918.65
CHASNIS ANDREW THOMAS      816 N WOODBRRIDGE SAGINAW MI 48602

16-004-013-00                2014 FRF         343.66     123.72         13.75               175.00          147. DO     803.13
WATKINS SHARYL KAY      8989 E ADAMS RD WHEELER MI 48662

16-012-002-21                2014 FRF         209.99      75.60          8.40                                30.00      323.99
BROWN DAVID A SR.      10815 N.E. COUNTY LINE RD MERRILL MI 48637

16-017-007-20               2014 FRF           2.32           0.84       1. DO                               80.00       84.16
SEELEY TERRY     7145 E MCGREGOR ROAD WHEELER MI 48662

16-022-005-00               2014 FRF         295.73         106.47      11.83                                30.00      444.03
SEELEY TERRY     7145 MCGREGOR WHEELER MI 48662

16-028-001-00                2014 FRF         853.02        307.08      34.12                                30.00    1,224.22
METCALF DENNIS      8574 E MONROE ROAD WHEELER MI 48662

16-400-420-00                2014 FRF         621.60     223.77         24.86       15.00   175.00          147.00    1,207.23
JERRY LOUIS & TAMTHA      3732 N RANSOM RD BRECKENRIDGE MI 48615

16-600-601-00                2014 FRF       1,552.89     559.04         62.12       15.00   175. DO         147. DO   2,511.05
HARTMAN WENDY MARIE      8351 WHEELER ROAD WHEELER MI 48662

16-600-708-00             2014 FRF               486.92     175.29      19.48       15.00   175.00          147. DO   1,018.69
CARDENAS ANTONIO & CONNIE ROBERTS-         9339 E MONROE ROAD WHEELER MI 48662

41-100-241-00             2014 FRF         694.83     250.14            27.79       15.00   175.00          147.00    1,309.76
MC ELHANEY DAVID LEE & ANGELA   8868 E 72ND ST CHASE MI 49623


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                                                                                  Oct Fee/    Title    Other
Parcel                          Year Status    Base Tax     Intrst        Admin   Sale Exp     Srch     Fees        Total
41-150-013-00                2014 FRF       2,453.98        883.44        98.16      15.00   175.00   147.00   3,772.58
SPITZLEY CRAIG      201 N HERRING ST ASHLEY MI 48806

41-600-356-00                   2014 FRF       1,788.47     643.85        71.54      15.00   175.00   147.00   2,840.86
BEARDEN HARLAN J, JR & MARY A        & JAMERSON BEARDEN BOX 35 ASHLEY MI 48806

42-119-009-00             2014 FRF       2,234.75     804.51              89.39     15.00    175.00   147.00   3,465.65
BELLES EDWARD L & GLORIA A   545 WRIGHT ST BRECKENRIDGE MI 48615

42-150-037-00                   2014 FRF       1,722.64     620.15        68.91     15.00    175.00   147.00   2,748.70
FETTERS ROBERT DEXTER         PO BOX 483 BRECKENRIDGE MI 48615

42-150-064-00             2014 FRF        897.03     322.93      35.88                                110.00   1,365.84
MC CLINTIC DANIEL R & KELLY J 520 E SUMMIT ST BOX 242 BRECKENRIDGE MI 48615-0242

12 381 881 98      ~
                  LJJ/   2014 FRF      1,211.00     435.96      48.44      15.00             175.00   147.00   2,032.40
TRIPLE H PROPERTY ~NAGEMENT LLC JAMES HURST 2610 JEAN ST HARRISON MI 48625

42-308-011-00                2014 FRF         400.93     144.33           16.04                        30.00       591.30
PHELPS DAISY      204 FOURTH STREET- BOX 42 BRECKENRIDGE.MI 48615

43-300-020-00                2014 FRF         749.87     269.95           29.99     15.00    175.00   147.00   1,386.81
ZELINSKI JAMIE     404 E FULTON ST BOX 132 PERRINTON MI 48871-0132

43-700-322-50                2014 FRF         758.29     272.98           30.33     15.00    175.00   147.00   1,398.60
MARTIN BONNIE J     501 ROBINSON ST UNIT 73 PERRINTON MI 48871

51-010-161-00             2014 FRF         591.66    213.00      23.67              15.00    175.00   147.00   1,165.33
KEATING NICHOLAS CHARLES BOOKER COLIN MICHAEL 8 YORICK ROAD, WEST MERSEA           XXXXX

51-010-166-00                2014 FRF         464.74        167.31        18.59     15.00    175.00   147.00       987.64
RHYNARD JON L      4880 W MONROE RD ALMA MI 48801-9508

51-021-011-00                   2014 FRF          59.38      21.38         2.38     15.00    175.00   147.00       420.14
FOX THOMAS A & SHARON E         3445 N RICH RD PO BOX 301 ALMA MI 48801

51-021-019-00                   2014 FRF       1,072.70     386.17      42.91                 90.00   147.00   1,738.78
FOX THOMAS A & SHARON E         3445 N RICH RD PO BOX 301 ALMA MI 48801

51-021-109-00                   2014 FRF         572.83     206.22        22.91                        30.00       831.96
HERNANDEZ JOHN N         208 WILLIAMETTE ALMA MI 48801

51-021-269-00             2014 FRF         527.10     189.75      21.08             15.00    175.00   147.00   1,074.93
VANHOOSE DOUGLAS E & KIMBERLEE M   7190 CLEVELAND RD MIDDLETON MI 48856

51-021-271-00             2014 FRF         639.77     230.31      25.59             15.00    175.00   147.00   1, 232.67
VANHOOSE DOUGLAS E & KIMBERLEE M   7190 CLEVELAND RD MIDDLETON MI 48856

51-021-334-00                2014 FRF       1,105,46     397.97           44.22     15.00    175.00   147.00   1,884.65
JELLISON RICK     JELLISON ZACH 1112 ROSEDALE ALMA MI 48801

51-021-761-00                2014 FRF       1,521.41        547.71        60.86     15.00    175.00   147.00   2,466.98
NELSON ROBBIE      1107 ROSEDALE ALMA MI 48801

51-021-768-00              2014 FRF       1,502.10          540.75        60.08      15.00   175.00   147.00   2,439.93
FOX THOMAS    3445 N RICH RD PO BOX 301 ALMA MI 48801

51-031-038-00                   2014 FRF          52.95      19.06         2.12      15.00   175.00   147.00       411.13
111 & 113 W SUPERIOR LLC         119 W SUPERIOR STE 101 ALMA MI 48801

51-031-288-00                   2014 FRF       2,902.22  1,044.80      116.09        15.00   175.00   147.00   4,400.11
ACAC PROPERTY, LLC         258 BLUE SPRING LANE CHARLOTTESVILLE·VA 22903

51-031-530-00
ADAMS CHRISTINA L

51-031-807-00
                                2014 FRF


                                2014 FRF
                                               1,337.28
                          156 ALLEN ALMA MI 48801

                                               1,177.37
                                                            481.42


                                                            423.85
                                                                          53.49


                                                                          47.09
                                                                                     15.00


                                                                                     15.00
                                                                                             175.00


                                                                                             175.00
                                                                                                      147.00


                                                                                                      147.00
                                                                                                               8
                                                                                                               1,985.31
CABRERA CHRISTIN LYNN         115 HILL ALMA MI 48801

51-032-276-00             2014 FRF         821.78     295.84              32.87      15.00   175.00   147.00   1,487.49
MCCREERY SCOTT T & JILL M   6579 N RICH RD ALMA MI 48801

51-032-772-00             2014 FRF         325.33     117.12      13.01              15.00   175.00   147.00       792.46
VANHOOSE DOUGLAS E & KIMBERLEE M   7190 CLEVELAND RD MIDDLETON MI 48856

51-032-777-00                2014 FRF         339.95        122.38        13.60                        30.00       505.93
MIKULA DEBRA D      137 GRAFTON ALMA MI 48801


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 BY: mthomas            Tax Year: 2014 Calculated as of: 02/21/2017 Exclude Personal Property
                                               Foreclosed Taxes EXCLUDED

                                                                                       Oct Fee/    Title    Other
 Parcel                          Year Status      Base Tax      Intrst        Admin    Sale Exp     Srch     Fees      Total
51-032-779-00                    2014 FRF         1,967.31      708.23        78.69       15.00   175.00   147.00   3,091.23
 FOX THOMAS A     3445 N RICH RD PO BOX 301 ALMA MI 48801

51-032-796-00                    2014 FRF           417,59      150,33        16,70       15.00   175.00   147.00     921. 62
VANHOOSE DOUGLAS E & KIMBERLEE M            7190 CLEVELAND RD MIDDLETON MI 48856

51-032-821-00                    2014 FRF           373.00      134.28        14.92       15.00   175.00   147.00     859.20
NOEL KEVIN MATHEW       1033 FAIRVIEW AVE ALMA MI 48801-1224

51-034-029-00                    2014 FRF       1,985.00     714.60           79.40      15.00    175.00   147.00   3,116.00
SPRINGHILL HOMES LLC         GUY EYAL PO BOX 4037 EAST LANSING MI 48826

 51-034-587-02                   2014 FRF         1,177.37      423.85        47.09       15.00   175.00   147.00   1,985.31
 HULBERT TINA     318 HILLSDALE ST ALMA MI 48801

 51-342-874-00                   2014 FRF            19.71        7.10         1.00                         80.00     107.81
 DOAN TAMMY A     3425 N RICH ROAD ALMA MI 48801
                      .
                      H
...,.5.l 313 our oo- ~[        2014 FRF        1,150.28         414.10        46.01       15.00   175.00   147.00   1,947.39
   JEWELL BETTY LUE     918 PINE ALMA MI 48801

51-343-121-00                    2014 FRF           764.83      275.34        30.59       15.00   175.00   147.00   1,407.76
ULRICH ROBERT ANTHONY          713 EUCLID ALMA MI 48801

51-343-122-00                2014 FRF         449.25            161.73        17.97       15.00   175.00   147.00     965.95
BETTS LINDA MARY      125 ELWELL ST ALMA MI 48801

51-343-511-10             2014 FRF      3,270.77   1,177,47     130.83                   15.00    175.00   147.00   4,916.07
721 E SUPERIOR LLC SAIED ZABETIAN 23090 HALSTED RD 113 FARMINGTON MI 48335

51-344-062-00             2014 FRF       5,149.09   1,853.67                 205.96      15.00    175.00   147.00   7,545.72
HEIMBERGER BRIAN J & KIM B   2623 N BEGOLE RD ALMA MI 48801

51-344-759-00                    2014 FRF            45.84       16.50         1.83      15.00    175.00   147.00     401.17
WRIGHT MANSION LLC KURT WASSENAAR           258 BLUE SPRINGS LANE CHARLOTTESVILLE VA 22903

51-354-262-00                 2014 FRF         350.23     126,09              14.01       15.00   175.00   147.00     827.33
CURTISS THOMAS JR       9070 E RIVER RD MOUNT PLEASANT MI 48858

51-354-304-00                    2014 FRF         2,083.34      750.00        83.33       15.00   175.00   147.00   3,253.67
HOLLIDAY WILLIAM JR. & HEATHER          4721 W JACKSON RD ALMA MI 48801

51-354-757-00                    2014 FRF           494.84      178.14        19.79                         80.00     772.77
MCCORMICK KEVIN E & NAOMI C          612 BRIDGE ALMA MI 48801

 51-354-800-00                   2014 FRF          1,361.16     490.02        54.45       15.00   175.00   147.00   2,242.63
 SPRINGHILL HOMES LLC        GUY EYAL PO BOX 4037 EAST LANSING MI 48826

 51 970 618 13 ~lf+       2014 FRF       1,239.95     446.38      49.60      15.00                175.00    60.00   1,985.93
 WRIGHT MANSION LLC KURT WASSENAAR 258 BLUE SPRINGS LANE CHARLOTTESVILLE VA 22903

51 9/I-010-13    \,.l!)l H    2014 FRF         110.09      39.63       4.40      15.00            175.00    60.00     404.12
WRIGHT MANSION LLC      KURT WASSENAAR 258 BLUE SPRINGS LANE CHARLOTTESVILLE VA 22903

 52-050-029-07                   2014 FRF       5,592.04   2,013.13          223. 68      15.00   175.00   147.00   8,165.85
 BUECHE MARTIN & ANNE         4731 OLMSTEAD RD IONIA MI 48846-9748

52-070-029-20                    2014 FRF           742.71      267.38        29.71                         30.00   1,069.80
 BEARD RENEE     975 S JEROME RD ITHACA MI 48847

52-103-002-00                2014 FRF         850.97            306.35        34.04       15.00   175.00   147.00   1,528.36
RYKERT JOHN E      528 E EMERSON ST ITHACA MI 48847

 52-155-005-00                   2014 FRF         1,319.16      474.90        52.77       15.00   175.00   147.00   2,183.83
WILLIAMS DALE E      708 E SOUTH ST ITHACA MI 48847

 52-403-005-00                   2014 FRF         1,263.69      454.93        50.55       15.00   175,00   147.00   2,106.17
 EVANS TERRY L & PATRICIA A         120 N ST JOHNS ST ITHACA MI 48847

 52-502-007-00               2014 FRF       1,663.05            598.70        66.52       15.00   175.00   147.00   2,665.27
 RHYNARD JON L     4880 W MONROE RD ALMA MI 48801

 52-555-026-00                   2014 FRF            868.99     312.84        34.76       15.00   175.00   147.00   1,553.59
 SYCH GARY L     216 W WASHINGTON COLEMAN MI 48618

 52-558-001-10                   2014FRF             849.11     305.68        33.96                         30.00   1,218.75
 WILLIAMS DALE EUGENE & MARY ANN            708 E SOUTH ST ITHACA MI 48847


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BY: rnthomas               Tax Year: 2014 Calculated as of: 02/21/2017 Exclude Personal Property
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Parcel                       Year Status       Base Tax     Intrst        Admin   Sale Exp      Srch              Fees       Total
52-558-001-20             2014 FRF        1,696o24     610o65             67o85      15o00    175 oDO           147o00    2,711.74
WILLIAMS DALE EUGENE & MARY ANN    708 E SOUTH ST ITHACA MI 48847

52-558-001-30                2014 FRF          1,646.82     592,86        65.87      15o00    175o00            147o00    2,642.55
WILLIAMS DALE EUGENE & MARY ANN         708 E SOUTH ST ITHACA MI 48847

52-655-076-00                2014 FRF          1,897o46     683 09
                                                               0          75o90      15 oOO   175oDD            147o00    2,993.45
HEIMBERGER BRIAN     2623 N BEGOLE RD ALMA MI 48801

52-655-090-00             2014 FRF         640o47     230o57      25o62             15oDO     175o00            147o00    1,233.66
KINKEAD LAWRENCE R & MARY M   229 E EMERSON ST., APT 2 ITHACA MI 48847

52-655-093-00             2014 FRF          70o26      25o29       2o81              15o00    175o00            147.00      435o36
KINKEAD LAWRENCE R & MARY M   229 E EMERSON ST., APT 2 ITHACA MI 48847-

52-663-057-80                2014 FRF          1,301o00     468o36        52o04     15o00     175o00            147o00    2,158.40
BOSLEY JOSEPH W      221 S ST JOHNS STREET ITHACA MI 48847

52-702-002-00             2014 FRF       2,163o21     778o76              86o53     15o00     175 00
                                                                                                 0              147o00    3,365.50
VENTOCILLA SAMUEL STEPHEN   1115 ROSE AVE BIG RAPIDS MI 49307

53-010-017-00                2014 FRF            483o55     174o08        19o34     15o00     175oDD            147o00    1,013.97
PEACOCK JEANNE & MILFORD      310 N DELAWARE ST SAINT LOUIS MI 48880

53-010-049-00                2014 FRF       3,312.80      1,214,21       134o91     15o00     175 oDO           147o00    5,058.92
KOLAR DONNA L      4374 RIVERVIEW DRIVE ALMA MI 48801

SS Ble 114 60 ~(t\      2014 FRF        5,458.34  1,965.00               218o33     15o00     175 oDO           147o00    7,978.67
GOLDEN BOYS, LLC 130 W NORTH AVENUE.CHICAGO IL 60610

,o.J-019 11" lQ    WILt      2014 FRF            214o56      77o24         8o58      15oDO    175 oDO           147o00      637o38
GOLDEN BOYS, LLC      130 W NORTH AVENUE CHICAGO IL 60610

53-010-229-00                2014 FRF          19.70          7o09         1.00                                  80o00      107.79
DOAN TAMMY A      3425 N RICH RD ALMA MI 48801

53-010-366-00                2014 FRF         681.44        245o32        27o26      15o00    175o00            147o00    1,291.02
SMITH LYNETTE      535 CORINTH ST SAINT LOUIS MI 48880

53-100-024-00                2014 FRF            254o28      91.54        10o17      15o00    175 oDO           147o00      692o99
FOX THOMAS     3445 N RICH RD PO BOX 301 ALMA MI 48801

53-100-034-00                2014 FRF       2,321.49     835,74           92o86      15o00    175 oDO           147o00    3,587.09
WILSON BRUCE & PAMELA      406 S MILL ST SAINT LOUIS MI 48880

53-100-035-00                2014 FRF            349o20     125o71        13o97      15 oOD   175o00            147o00      825o88
WILSON BRUCE & PAMELA      406 S MILL ST SAINT LOUIS MI 48880

53-100-040-00                2014 FRF            741o05     266o78        29o64      15o00    175o00            147o00    1,374.47
KOUTZ ALAN & LINDA      201 CHESTNUT ST SAINT LOUIS MI 48880

53-100-062-00            2014 FRF       1,252.05            450o74        50o08      15oDD    175 00
                                                                                                  0             147o00    2,089.87
FOX THOMAS 3445 N RICH RD PO BOX 301 ALMA MI 48801

53-100-068-00             2014 FRF         206.57      74.37       8.26        15.00          175 oOO           147o00      626o20
FOX THOMAS POST RICHARD & BEVERLEE TH 3445 N RICH RD PO BOX 301 ALMA MI 488-01

53-100-069-00             2014 FRF        1,346.58     484.77      53.86       15.00          175.00            147o00    2,222.21
FOX THOMAS POST RICHARD & BEVERLEE ·rH 3445 N RICH RD PO BOX 301 ALMA MI 48801

53-350-015-00             2014 FRF       1,571.53     565.75      62.86              15o00    175o00            147.00    2,537.14
COAST ANGELS LC FUND, LLC   7040 AVENIDA ENCINAS STE 104 CARLSBAD CA 92013

53-500-009-00                2014 FRF          1,994o21     717o92        79o77      15o00    175o00            147o00    3,128.90
S & R-ST LOUIS LLC     ROBERT & KATHLEEN BAILEY 502 W CENTER ST SAINT LOUIS MI 48880

53-500-031-00             2014 FRF       1,281.95     461.50      51.28              15o00    175oDO            147o00    2,131. 73
SPENCER BRANDI & PESKA WILLIAM   212 BANKSON STREET SAINT LOUIS MI 48880

53-500-115-00                2014 FRF         982.20     353.59           39o29      15o00    175o00            147o00    1,712.08
FUENTES JOE & JOANNA      1560 E LINCOLN RD SAINT LOUIS MI 48880

53-650-002-00                2014 FRF            850o66     306o24        34o03      15o00    175o00            147o00    1,527o93
UPDEGRAFF RAY W      219 S CLINTON ST SAINT LOUIS MI 48880

53-650-044-00                2014 FRF       1,793.06     645.50           71.72      15o00    175 oDO           147o00    2,847.28
UPDEGRAFF JOSALYN      219 S CLINTON ST SAINT LOUIS MI 48880

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BY: mthomas                Tax Year: 2014 Calculated as of: 02/21/2017 Exclude Personal Property         DB:    Real
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                                                                                Oct Fee/       Title            Other
Parcel                       Year Status     Base Tax      Intrst      Admin    Sale Exp        Srch             Fees        Total
53-700-016-00                2014 FRF         322.55      116.12       12.90       15.00      175.00           147.00       788.57
BRADY ROBERT M      813 MICHIGAN AVE SAINT LOUIS MI 48880

53-700-020-00                2014 FRF         190.07      68.43         7.60       15.00      175.00           147.00       603.10
BRADY ROBERT M      813 MICHIGAN AVE SAINT LOUIS MI 48880

53-860-001-00             2014 FRF     17,599.53    6,335.83     703.98      15.00     175.00                  147.00    24,976.34
CRIPPEN MANUFACTURING COMPANY ATTN JIM BAND FIELD 400 WOODSIDE DRIVE SAINT LOUIS MI 48880


2014     01 REAL                   7         3,766.22    1,355.83     150. 64      30.00      490.00       718.00         6,510.69
2014     02 REAL                   3        4,293.78     1,545.76     171.75       45.00      525.00       441.00         7,022.29
2014     03 REAL                   1          570.99       205.56      22.84       15.00      175.00       147.00         1,136.39
2014     04 REAL                   5        5,642.77     2,031.40     225.71       74.91      875.00       735.00         9,584.79
2014     05 REAL                  14       11,636.20     4,189.04     465.68      120.00    1,539.52     1,680.00        19,630.44
2014     06 REAL                   1          454.75       163.71      18.19                   11.34       147.00           794.99
2014     07 REAL                   2        1,653.71       595.34      66.15       30.00      350.00       294.00        2,989.20
2014     09 REAL                   3        3,592.68     1,293.38     143.71       45.00      525.00       441.00        6,040.77
2014     10 REAL                   1          950.76       342.27      38.03       15.00      175.00       147.00        1,668.06
2014     11 REAL                   7        5,040.68     1,814.64     202.44       90.00    1,050.00       895.00        9,092.76
2014     12 REAL                   1          859.07       309.27      34.36       15.00      175.00       147.00        1,539.70
2014     13 REAL                  14        9,847.76     3,545.20     395.27      180.00    2,100.00     1,787.00       17,855.23
2014     14 REAL                   9        6,542.15     2,255.82     261.68      105.00    1,225.00     1,139.00       11,528.65
2014     16 REAL                   9        6,924.45     2,492.81     277.89       60.00      875.00       905.00       11,535.15
2014     41 REAL                   3        4,937.28     1,777.43     197.49       45.00      525.00       441.00        7,923.20
2014     42 REAL                   5        6,466.35     2,327.88     258.66       45.00      525.00       581.00       10,203.89
2014     43 REAL                   2        1,508.16       542.93      60.32       30.00      350.00       294.00        2,785.41
2014     51 REAL                  35       37,423.68    13,472.50   1,497.13      450,00    5,340.00     4,603.00       62,786.31
2014     52 REAL                  15       22,565.18     8,123.49     902.61      195.00    2,275.00     1,971.00       36,032.28
2014     53 REAL                  22       43,287.37    15,583.47   1,731.69      315.00    3,675.00     3,167.00       67,759.53

2014 REAL/OTHER                  ~llll 177,963.99       63,967.73   7,122.24    1,904.91   22,780.86    20,680.00       294,419.73

DLQ PARCEL COUNT:        ~                 177,963.99   63,967.73   7,122.24    1,904.91   22,780.86    20,680.00       294,419.73
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                                      FORFEITURES WITHHELD FROM FORECLOSURE                                                       : _1
                                                  2016 Forfeiture
      ~P~a~r~c~e~l~-~------------~F~o~r~f~·~Y~e~a=r~F~o~r~f~·~S~t~a~t~u~s~--------~R~e~a~s~o~n~W~i~t~h~h~e~l~d~------------~---·~---~ •

       . 01-"017-017-00                2016          Forfeited                     SHOWCAUSE EXTENSION GRANTED
        o2~ors-o4 6-01·                2016          Forfeited                     STEP FORWARD PAYING
        0_7-0f6-013-10                 2016          Forfeited                     SHOWCAUSE EXTENSION GRANTED
        11:._015-029-00                2016          Forfeited                     SHOWCAUSE EXTENSION GRANTED                     . '•

        1'1-03,2-012-00                2016          Forfeited                     BANKRUPT
        13-650-003-60                  2016          Forfeited                     TITLE SEARCH/SALE NOT ENTERED.
              ; '
        42-301-004-00                  2016          Forfeited                     SHOWCAUSE EXTENSION GRANTED ·' ,
        51-343-001-00                  2016          Forfeited                     EXTENSION GRANTED
       . 51;_970-010-13.               2016          Forfeited                     PERSONAL PROPERTY
        s1-971.:.'o1o-13               2016          Forfeited                     PERSONAL PROPERTY
        53-010-114-00                  2016          Forfeited                     IN RECEIVERSHIP
        53-010-117-10                  2016          Forfeited                     IN RECEIVERSHIP




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     Case 1:19-cv-11887-TLL-PTM ECF No. 1-2, PageID.35 Filed 06/25/19 Page 13 of 37




                                AFFIDAVIT OF PUBLICATION
STATE OF MICIDGAN,                     In the matter of Nnti ce of Shaw Carrse          Heari og- and . hrdj ci aJ
County of Gratiot, ss.                  Foreclosure Hearing for Non-Payment of Property Taxes
           Thomas P. MacDonald                            , being duly sworn, deposes and says that he is the publisher of the


                                   Gratiot County Herald
a newspaper published in the English language for the dissemination of local or transmitted news and intelligence of a genern!
character and legal news, which is a duly qualified newspaper, and that annexed hereto is a copy of a certain order taken from
said newspaper, in which the order was published.


                                                                        Jan. 12 20..1L_               Jan. 19 20JL._

                                                                      _ _ _ 20_ _                   _ _ _ 20_ _

                                                                      _ _ _ 20_ _ _ _ _ _ 20_ _

                                                                      Signed:~                                      >
                                                                                                                           ::>
                                                                                                                                 -
                                                                      Sworn to and subscribed before me, a Notary Public

                                                                      in and for Gratiot County, Michigan, this   19th

                                                                      day of             Janaury           20,~1,..7'---

                                                                      0gAnnaJl.v.nn ~~w
                                                                      My commission   ex~ May 3 • 26f-l
                                                                                       DeAnna Lynn Coffin
                                                                                 Notary Public, Gratiot County, Ml
                                                                                My Commission Expires May 3, 2017


                                                               PRINTER'S BILL 400 inch display adv.
                                                           __Reprints
                                                       PAGE: 13 ___Times
                                                        __Folios                                 $_ __
                              Case 1:19-cv-11887-TLL-PTM ECF No. 1-2, PageID.36 Filed 06/25/19 Page 14 of 37



Michelle Thomas                                                                                                                                  Case# 16-0111-CH
Gratiot County Treasurer
214 E. Center St.
P.O. Box 17
Ithaca, Mi 48847
989-875-5220

            NOTICE OF SHOW CAUSE HEARING AND JUDICIAL FORECLOSING HEARING FOR NON-PAYMENT OF PROPERTY
                                                       TAXES.

       On March I, 20 16 real estate with unpaid 20 14 property taxes were forfeited to the Gratiot County Treasurer pursuant to the General Property Tax Act, Public
       Act 206, MCL 211.1 to 211.157, as amended. This publication is required by Michigan Statue even if the party no longer claims or desires to hold an interest in
       the property.

       The purpose of this notice is to inform any person with an interest in the property that they may lose their interest in the property as a result ofthe Judicial
       Foreclosure Hearing on the date, time and place indicated below.

       Gratiot County Show Cause Hearing:
       Date:    January 24,2017 Time: 9:00a.m.
       Location: Gratiot County Courthouse
       Commissioners Room
       2 I4 E. Center St.
       Ithaca, Mi 48847

       The purpose of the hearing is to allow an owner or any person with an interest in the property to show cause why absolute title to the property forfeited to the
       Gratiot County Treasurer on March I, 20 I 6 should not vest in the Gratiot County Treasurer. An owner or any person with an interest may appear at the hearing
       and redeem that property or show cause why absolute title to the property should not vest in the Gratiot County Treasurer for any reasons set forth in Section
       78k(2).

       Judicial Foreclosure Hearing:
       Date:        February 21, 2017 Time: II :00 a.m.
       Location: Gratiot County Courthouse
       Circuit Court
       214 E. Center St.
       Ithaca, Mi 48847

       The purpose of the hearing is to allow a person claiming an interest in the parcel of property set forth in the petition for foreclosure who desires to contest that
       petition to file written objections with the clerk of Circuit Court and serve those objections on the Gratiot County Treasurer or redeem the parcel of property from
       forfeiture. If the property is not redeemed on or before March 31,2017, title to the property will vest solely in the Gratiot County Treasurer.




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                       Case 1:19-cv-11887-TLL-PTM ECF No. 1-2, PageID.37 Filed 06/25/19 Page 15 of 37




. The following list represents parties that appear to have title, lien or other apparent rights to the parcels being foreclosed by the Gratiot County Treasurer.
  Listing a party does NOT necessarily indicate that they are liable for the property taxes. This is NOT an offering of property for sale. These parcels are not
  being sold, auctioned or otherwise made available by virtue of this notice. There is no procedure for purchasing these parcels from the Gratiot County Treasurer
  at this point in the foreclosure process. If any of the following parcels do become foreclosed upon, they may become available for purchase at public auction in
  August and/or September 2017. These parcels remain the property of their current owner until redemptions rights have expired. No party should mal<e
  an attempt to inspect or enter these parcels prior to foreclosure. Doing so would constitute trespassing and the offender would be subject to criminal
  prosecution. The street address of the parcels listed is based on local records and is not guaranteed to be the actual location of the property.

The amount due, as listed, indicates the balance due for only the 2014 taxes as of January 31, 2017. There may be additional years delinquent. Please
contact the Gratiot County Treasurers office for the current amount to redeem.




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          Case 1:19-cv-11887-TLL-PTM ECF No. 1-2, PageID.38 Filed 06/25/19 Page 16 of 37
                                              COUNTY OF GRATIOT
                                NOTICE OF SHOW CAUSE HEARING AND
                                 JUDICIAL FORECLOSURE HEARING
ParceiiD#: 01-009-008-10                         Amount to Redeem as of 01/31/2017        1,232.99
Property Address: 4481 N ALGER RD ALMA Ml
The following parties may have an interest in this property:
WOOD KATHLEEN M
 DESCRIPTION OF PROPERTY: A PARCEL IN NE COR OF N 1/2 OF SE 1/4, BEING 435.60 FT E & W BY 200FT N & S & SUBJECT TO
 A 30 FT EASEMENT FOR INGRESS & EGRESS ALG N PROPERTY LINE, SEC       9-11-3. 2 A.   SPLIT FOR 2003 OF 009-008-00


ParceiiD#: 01-018-005-00                         Amount to Redeem as of 01/31/2017        1,509.76
Property Address: 3496 N RICH RD ALMA Ml
The following parties may have an interest in this property:
FOX THOMASA
DESCRIPTION OF PROPERTY: COM 420 FT N OF SW COR OF NW 1/4, TH E 240 FT, N 363 FT, W 240 FT, S 363 FT TO   POB, SEC 18
-11-3. 2 A.

ParceiiD#: 01-020-005-00                          Amount to Redeem as of 01/31/2017      2,099.79
Property Address: 2771 N LUCE RD ALMA Ml
The following parties may have an interest in this property:
REBECCA FAWCETT
GARCIA ANDRES M & REBECCA FAWCETT
US BANK NATIONAL ASSOCIATION
DESCRIPTION OF PROPERTY: WD L 560 P 648 COM 69 RDS 12 FT 3 IN S OF NE COR, TH W 40 RDS, S 20 RDS, E 40   RDS, N 20
RDS TO BEG EX COM 69 RDS 12 FT 3 IN S OF NE COR OF SEC, TH S 77 FT, W 34 1/4 RDS, N 77 FT, E 34 1/4 RDS TO BEG, SEC
20-11-3. 4 A.


ParceiiD#: 01-020-022-00                         Amount to Redeem as of 01/31/2017         879.00
Property Address: N LUCE (2000) RD ALMA Ml
The following parties may have an interest in this property:
BARBER WILMER & KATHRYN
DESCRIPTION OF PROPERTY: COM 20 RDS S OF NE COR OF SEC, TH W 528 FT, S 42 FT, W 132 FT, S 94   FT, E TO   CENTER OF
RD 1 N 136 FT TO BEG, SEC 20-11-3.

ParceiiD#: 01-020-039-00                         Amount to Redeem as of 01/31/2017         680.13
Property Address: 2556 N ELY HWY ALMA Ml
The following parties may have an interest in this property:
HUNT JOSHUA L
DESCRIPTION OF PROPERTY: WD L 585 P 1091 THAT PART OF SE 1/4 OF NW 1/4 LYING E & S OF ELY HWY SEC         20-11-3. 1
A.

ParceiiD#: 01-034-017-30                         Amount to Redeem as of 01/31/2017         761.52
Property Address: 133 PINE DR ITHACA Ml
The following parties may have an interest in this property:
DITECH FINANCIAL LLC
COLBURN VAN H & CHERYL L
DESCRIPTION OF PROPERTY: WD L 557 P 1499 COM 1062.4 FT W & 642.50 FT N OF SECOR OF SEC, TH W 257.6 FT, N 168.75
FT, E 257.6 FT, S 168.75 FT TO POB 1 SUBJECT TO EASEMENT DESC AS COM   240FT E OF SW COR OF SE 1/4 OF SE 1/4 1 TH N
811.25 FT, E 33 FT, S 811.25 FT, W 33 FT TO POB, SEC 34-11-3. 1 A M/1. ARCADA TOWNSHIP, GRATIOT COUNTY

ParceiiD#: 02-004-002-00                         Amount to Redeem as of 01/31/2017       2,246.84
Property Address: 11977 RIVERSIDE DR SAINT LOUIS Ml
The following parties may have an interest in this property:
MICHIGAN DEPT OF TREASURY
JOHNSON DEBORAH A

                                                    PAGE: 16
DESCRIPTION OF PROPERTY: ASSNT OF LC L 561 P 1093 BEG AT INTERSECTION OF N SEC LINE WITH CENTERLINE OF   MIDLAND-ST
LOUIS STATE RD, TH W 9 RDS 8 1/2 FT, S 10 RDS, E 9 RD 8 1/2 FT, N 10 RDS TO BEG, SEC 4-12-2. 0.50 A M/L. BETHANY
 TOWNSHIP, Case  1:19-cv-11887-TLL-PTM
           GRATIOT COUNTY                     ECF No. 1-2, PageID.39 Filed 06/25/19 Page 17 of 37

ParceiiD#: 02-018-012-00                         Amount to Redeem as of 01/31/2017        1,585.63
Property Address: 9061 RIVERSIDE DR SAINT LOUIS Ml
The following parties may have an interest in this property:
CHEMICAL BANK
BRYAN BAILEY
BAXTER BENJAMIN E & JAIME L
 DESCRIPTION OF PROPERTY: COM 224 FT W & 207 FT N OF INT OF CL OF MIDLAND-ST LOUIS STATE RD & THE S SEC   LINE OF SEC
 18, SE'LY IN A STRAIGHT LINE CROSSING THE CENTER LINE OF SD         MIDLAND-ST LOUIS STATE RD AT A PT 195 FT N OF s
 SEC LINE & CONTINUING IN SD     STRAIGHT LINE SE'LY TO E LINE OF W 1/2 OF SW 1/4, TH N ON SD E LINE OF SD W 1/2 OF
 SW 1/4 TO A PT 304 FT N OF S SEC LINE, TH W TO A PT DUE N OF PT OF BEG, TH S 97 FT TO BEG, BEING A PART OF S 60 A OF
 W 1/2 OF SW 1/4 OF SEC 18-12-2. BETHANY TWP., GRATIOT COUNTY.

ParceiiD#: 03-002-011-20                         Amount to Redeem as of 01/31/2017        1'127.82
Property Address: S MAYWOOD RD
The following parties may have an interest in this property:
MINGE TIMOTHY LEE
DESCRIPTION OF PROPERTY: WD L 554 P 406 S 400 FT OF N 700 FT OF SE 1/4 OF NW FRL 1/4 EX THE E 450 FT, & S 400 FT OF
N 700 FT OF E 1/2 OF SW 1/4 OF NW FRL 1/4 LYING N'LY OF MAYWOOD RD, SEC 2-9-1. 11.63 A M/1. ELBA TWP., GRATIOT
COUNTY.


ParceiiD#: 03-300-074-00                         Amount to Redeem as of 01/31/2017        1'140.95
Property Address: 112 HANVEY ST
The following parties may have an interest in this property:
JACOBS WILLIAM
DESCRIPTION OF PROPERTY: VILLAGE OF BANNISTER LOT 7 EX E 17 FT OF N 1/2 OF LOT 7, BLOCK 19.   EL~A   TWP.,   GRATIOT
COUNTY.


ParceiiD#: 04-001-004-20                         Amount to Redeem as of 01/31/2017        2,002.33
Property Address: 5564 N BLAIR RD
The following parties may have an interest in this property:
MURPHY KEVIN & SHERI
DESCRIPTION OF PROPERTY: COM 2260 FT S OF NW COR OF SEC, TH S 230 FT, E 286 FT 1 N 230 FT, W 286 FT TO       POB, SEC 1-
11-2. 1.51 A M/L. EMERSON TWP., GRATIOT COUNTY. SPLIT FOR 2004 OF    001-004-00


ParceiiD#: 04-005-012-02                         Amount to Redeem as of 01/31/2017        1,482.42
Property Address: 5183 N ROYCE RD
The following parties may have an interest in this property:
MICHIGAN TREASURY
CARSON RICHARD
DESCRIPTION OF PROPERTY: WD L 451 P 296 COM 665 FT N OF SECOR OF SEC, TH W 626.13 FT, N 417.42 FT, E   626.13 FT,
S 417.62 FT TO POB, SEC 5-11-2. 6 A. EMERSON TWP., GRATIOT COUNTY. SPLIT FOR 2002 OF 005-012-00 SPLIT ON
02/25/2007 INTO 04-005-012-02,            04-005-012-20;


ParceiiD#: 04-005-012-20                         Amount to Redeem as of 01/31/2017        2,345.99
Property Address: 5219 N ROYCE RD
The following parties may have an interest in this property:
WILSON STACIE
DESCRIPTION OF PROPERTY: WD L 821 PG 1342 A PARCEL DESCRIBED AS PART OF THE EAST 1/2 OF THE SOUTHWEST    1/4 OF THE
FRACTIONAL SEC 5, T11N-R2W EMERSON TWP. GRATIOTCOUNTY, COMMENCING AT THE SOUTH 1/4 CORNER OF SEC, THENCE NORTH
1082.42 FT TO THE POINT OF BEGINNING THENCE WEST 626.13 FT, NORTH 208.71 FT, EAST 626.13 FT, SOUTH 208.71 FT TO
POB. 3 A. EMERSON TWP., GRATIOT COUNTY. SPLIT FOR 2002 OF 005-012-00 SPLIT ON        02/25/2007 FROM 04-005-012-01;


ParceiiD#: 04-006-027-00                         Amount to Redeem as of 01/31/2017        1,528.57
Property Address: 245 EVAN BUREN RD
The following parties may have an interest in this property:
JOHN VAN DEMARK
JEFFREY VAN DEMARK
VAN DEMARK JULIE
                                                    PAGE: 17
      Case
BROWNING   1:19-cv-11887-TLL-PTM ECF No. 1-2, PageID.40 Filed 06/25/19 Page 18 of 37
         JAYNE
VAN DEMARK BERNARD
 DESCRIPTION OF PROPERTY: COM 26 RDS E OF SW COR OF SEC, TH E 20 RDS, N 16 RDS, W 20 RDS, S 16 RDS TO BEG SEC 6-11-2.
 2 A. EMERSON TWP., GRATIOT COUNTY.

ParceiiD#: 04-018-012-10                         Amount to Redeem as of 01/31/2017        2,461.19
Property Address: 3904 N UNION RD
The following parties may have an interest in this property:
ARGO REALITY CO
RONALD TAYLOR WILSON
DESCRIPTION OF PROPERTY: WD L 485 P 96 COM AT SECOR OF N 1/2 OF NW 1/4 1 TH W APPROX 1,000 FT TOW       PROPERTY
LINE ON UNION RD, N 440FT, E 1,000 FT, S 440FT TO BEG, EX A PARCEL     IN NW COR 220FT N & S BY 198 FT E & W, SEC
18-11-2. 9.10 A M/1. EMERSON        TOWNSHIP, GRATIOT COUNTY

ParceiiD#: 04-035-005-00                         Amount to Redeem as of 01/31/2017        1'162.08
Property Address: 4104 E STCHARLES RD
The following parties may have an interest in this property:
BLACKMON, BETSY COX
COX NICHOLAS
DESCRIPTION OF PROPERTY: WD L 566 P 1146 COM AT A PT 460 FT E OF NW COR OF SEC, TH S 190 FT, E 230 FT, N 190 FT, W
230 FT TO POE, SEC 35-11-2. 1 A. EMERSON TWP., GRATIOT COUNTY.

ParceiiD#: 05-007-071-00                         Amount to Redeem as of 01/31/2017        1,570.05
Property Address: 317 HOWELL ST
The following parties may have an interest in this property:
GUERNSEY STEVEN D
DESCRIPTION OF PROPERTY: LC L 842 P 1293 DEED L 842 P 92 1/2 OF E 2 A OF S 1/2 OF SW 1/4 OF NW 1/4 OF SE 1/4, ALSO
COM 60 RDS S & 24 RDS E OF CENTER OF SEC, TH S 20 RDS, W 40FT, N 20 RDS, E 40FT TO BEG, SEC 7-9-3. FULTON TWP.,
GRATIOT COUNTY.

ParceiiD#: 05-007-077-00                         Amount to Redeem as of 01/31/2017        1,475.47
Property Address: 220 S NEWTON ST MIDDLETON Ml
The following parties may have an interest in this property:
SNIDER LOU ANNE
DESCRIPTION OF PROPERTY: WD L 802 P 1451COM AT APT 56 RDS S & 2 RDS W OF CENTER OF SEC 7, TH W 8 RDS, N 4 RDS, E 8
RDS S 4 RDS TO BEG 1 SEC 7-9-3. FULTON TWP., GRATIOT COUNTY.

ParceiiD#: 05-017-003-00                         Amount to Redeem as of 01/31/2017          107.51
Property Address: 4495 W CLEVELAND PERRINTON Ml
The following parties may have an interest in this property:
STILLMAN LAW OFFICE
HENSLEY JOHNIE RAY & TAMARA L
DESCRIPTION OF PROPERTY: COM 50 FT S OF NW COR OF N 1/2 OF NE 1/4, TH S 295.5 FT, E 295.5 FT, N 295.5 FT W 295.5 FT
TO POB, SEC 17-9-3. 2 A. FULTON TWP., GRATIOT COUNTY.

ParceiiD#: 05-110-010-00                         Amount to Redeem as of 01/31/2017        1,563.27
Property Address: 102 N NEWTON ST MIDDLETON Ml
The following parties may have an interest in this property:
JAMES COOK
COOK JAMES
VOGEL PAMELA
DESCRIPTION OF PROPERTY: VILLAGE OF MIDDLETON LOTS 10 & 11, BLOCK 10. FULTON TWP., GRATIOT COUNTY.

ParceiiD#: 05-116-003-01                         Amount to Redeem as of 01/31/2017        3,288.71
Property Address: 211 E ELM ST MIDDLETON Ml
The following parties may have an interest in this property:
MICHIGAN DEPT OF TREASURY COLLECTIO
CLAEYS MICHAEL RAY
                                                    PAGE: 18
          Case
 DESCRIPTION     1:19-cv-11887-TLL-PTM
             OF PROPERTY: VILLAGE OF MIDDLETONECF
                                               LOTS No.
                                                    3 & 1-2,
                                                        4, & PageID.41
                                                             S 1/2 OF LOT 2,Filed 06/25/19
                                                                              BLOCK 16. FULTONPage
                                                                                               TWP., 19 of 37
                                                                                                           GRATIOT
 COUNTY. SPLIT FOR 2002 OF 116-001-00 & ALL OF 116-003-00


ParceiiD#: 05-220-044-00                         Amount to Redeem as of 01/31/2017         1,906.75
Property Address: 103 THIRD ST POMPEII Ml
The following parties may have an interest in this property:
MICH STATE HOUSING DEVAUTHORITY
KIRT JOHNATHAN
 DESCRIPTION OF PROPERTY: WD L 848 P 1218 SD L 836 P 1298 POMPEII LOTS 44 & 45. FULTON TWP., GRATIOT       COUNTY,

ParceiiD#: 05-220-078-00                          Amount to Redeem as of 01/31/2017        2,282.99
Property Address: 115 W BURTON ST POMPEII Ml
The following parties may have an interest in this property:
DANFORD HEIDI
 DESCRIPTION OF PROPERTY: CD L 917 P 1353 SD L 899 P 1293 POMPEII LOT 78 EX S 44 FT & ALL OF LOT 79.       FULTON
 TWP., GRATIOT COUNTY.


ParceiiD#: 05-220-093-00                         Amount to Redeem as of 01/31/2017        2,271.71
Property Address: 326 W BURTON ST POMPEII Ml
The following parties may have an interest in this property:
SANDOVAL MAURICIO & MARIA
COVARRUBIAS ANDREA
PANNILL DENNIS L
SANDOVAL ROBERTO & ANDREA
 DESCRIPTION OF PROPERTY: WD L 844 P 1448 POMPEII LOT 93 & W 1/2 OF LOT 94. FULTON TWP., GRATIOT COUNTY.


ParceiiD#: 05-400-172-00                         Amount to Redeem as of 01/31/2017          820.53
Property Address: RAINBOW LAKE RD
The following parties may have an interest in this property:
RAINBOW LAKES MAINT CORP
LIENERTH DANIEL M & HEATHER MCKENZI
 DESCRIPTION OF PROPERTY: RAINBOW LAKE SUBDIVISION NO 3 LOT 172 & N 1/2 OF LOT 173. FULTON TWP., GRATIOT   COUNTY,


ParceiiD#: 05-640-022-00                         Amount to Redeem as of 01/31/2017          829.21
Property Address: LAKEWOOD CT PERRINTON Ml
The following parties may have an interest in this property:
RAINBOW LAKES MAINTENANCE CORP
WHITEHERSE LAURA R
DESCRIPTION OF PROPERTY: LITTLE RAINBOW LAKE SUB LOT 22. FULTON TWP., GRATIOT COUNTY.


ParceiiD#: 05-760-036-01                         Amount to Redeem as of 01/31/2017        2,078.98
Property Address: 9946 HIGHLAND DR
The following parties may have an interest in this property:
BUSCEMI RICHARD & KERI
DESCRIPTION OF PROPERTY: CD L 910 P 1496 SD L 889 P M909 WD L 625 P 790 L 833 P 510 RAINBOW LAKE         HIGHLANDS
LOTS 36, 37, & 38 .. FULTON TWP., GRATIOT COUNTY. FOR 2001 COMB      760-036-00, 760-037-00 & 760-038-00


Parcel ID#: 05-825-035-00                        Amount to Redeem as of 01/31/2017          700.79
Property Address: LAKESIDE DR
The following parties may have an interest in this property:
EASLICK MICHAEL E
DESCRIPTION OF PROPERTY: WD L 832 P 1181 RAINBOW LAKE WEST SUB LOT 35. FULTON TWP., GRATIOT COUNTY


ParceiiD#: 05-825-353-00                          Amount to Redeem as of 01/31/2017       1,007.46
Property Address: 10420 OAKRIDGE DR PERRINTON Ml
The following parties may have an interest in this property:
CASSADY JAIME J & JAMEE D                             PAGE: 19
           Case
 DESCRIPTION     1:19-cv-11887-TLL-PTM
             OF PROPERTY: RC L 905 P 500 SD L ECF
                                              897 P No. 1-2,
                                                    182 WD   PageID.42
                                                           L 807            Filed
                                                                 P 179 RAINBOW    06/25/19
                                                                                LAKE WEST SUB Page  20 of 37
                                                                                              LOT 353.    FULTON
 TWP., GRATIOT COUNTY.


ParceiiD#: 05-825-542-00                         Amount to Redeem as of 01/31/2017          545.03
Property Address:
The following parties may have an interest in this property:
FEDEWA DAVID P
DESCRIPTION OF PROPERTY: DEED   L 894 P 814 WD L 447 P 1310 RAINBOW LAKE WEST SUB. LOT 542. FULTON TWP.,   GRATIOT
COUNTY.


ParceiiD#: 06-035-011-00                         Amount to Redeem as of 01/31/2017        1,339.26
Property Address: S WOODBRIDGE (5000) RD
The following parties may have an interest in this property:
GODFREY VICTORIA
GODFREY CHARLES & DAWN
DESCRIPTION OF PROPERTY: WD L 468 P 131 & DEED L 469 P 631 N 1/2 OF S 1/2 OF NW 1/4 EX COM 661.24 FT N   OF W 1/4
COR, TH N 300.62 FT, E 580 FT, S 300.31 FT, W 580 FT TO POB, SEC       35-10-1. 36 A. HAMILTON TWP., GRATIOT COUNTY.

ParceiiD#: 06-036-005-00                         Amount to Redeem as of 01/31/2017          788.17
Property Address: S MASON (5000) RD
The following parties may have an interest in this property:
MAHONY EILEEN T
 DESCRIPTION OF PROPERTY: S 1/2 OF NW 1/4 SEC 36 T10N RlW BOA


ParceiiD#: 07-024-002-00                         Amount to Redeem as of 01/31/2017        1'160.26
Property Address: 2837 N MERIDIAN RD
The following parties may have an interest in this property:
RICKY TAYLOR
TAYLOR RICKY D & PEGGY L
DESCRIPTION OF PROPERTY: WD L 469 ~ 425 S 12 RDS OF E 13 RDS 9 1/2 FT OF NE 1/4 OF NE 1/4 OF NE 1/4.       SEC. 24-11-
1. 1 A. LAFAYETTE TOWNSHIP, GRATIOT COUNTY


ParceiiD#: 09-007-016-10                         Amount to Redeem as of 01/31/2017        1,705.59
Property Address: 11761 W HUMPHREY RD
The following parties may have an interest in this property:
DIANE HUMPHREY
WOLLET CARL & MELISSA
DESCRIPTION OF PROPERTY: COM 208.7 FT S OF NW COR OF W 1/2 OF NE 1/4 OF SW 1/4, THE 417.4 FT, S 219.37 FT, W 417.4
FT, N 219.37 FT TO POB, SEC 7-10-4. 2.1 A M/L. NEW HAVEN TWP.,      GRATIOT COUNTY. SPLIT FOR 2001 FROM 2909-007-016
-00

ParceiiD#: 09-017-010-00                         Amount to Redeem as of 01/31/2017        2,447.02
Property Address: 10315 W BUCHANAN RD
The following parties may have an interest in this property:
CRAIG HALL
HALL LLOYD ROBERT, JR & CAROL
DESCRIPTION OF PROPERTY: WD L 451 P 247 SW 1/4 OF SE 1/4 SEC. 17-10-4. 40 A. NEW HAVEN TWP., GRATIOT       COUNTY.


ParceiiD#: 09-020-006-00                          Amount to Redeem as of 01/31/2017       1,834.25
Property Address: 10315 W BUCHANAN RD
The following parties may have an interest in this property:
HALL CRAIG
HALL LLOYD ROBERT, JR & CAROL
DESCRIPTION OF PROPERTY: E 1/4 OF NW 1/4 OF NE 1/4 & COM AT NW COR OF NE 1/4 OF NE 1/4, TH S 8 RDS (132    FT), E 20
RDS (330FT), N 8 RDS, W 20 RDS TO POB, SEC 20-10-4. 11 A. NEW HAVEN TWP., GRATIOT COUNTY.


ParceiiD#: 10-035-002-10                         Amount to Redeem as of 01/31/2017        1,653.80
Property Address: 11280 S PINGREE RD PERRINTON Ml
                                                      PAGE: 20
The following parties may have an interest in this property:
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VICKIE JONES
WISE STANLEY E & LOUELLA M
 DESCRIPTION OF PROPERTY: DEED L 473 P 980 COM AT NE COR OF S 1/2 OF NE 1/4, TH N 87 DEG 20' W 842.1 FT,   S 2 DEG 45'
 W 593 FT, N 64 DEG 06' E 302.8 FT ALG CO DRAIN, N 30 DEG 10' E      449.3 FT ALG CO DRAIN, S 87 DEG 20' E 370 FT, N
 2 DEG 23' E 50 FT TO BEG, SEC   35-9-4. 6 A. NORTH SHADE TWP., GRATIOT COUNTY.  ROAD .01 A DITCH .4 A

ParceiiD#: 11-013-009-00                         Amount to Redeem as of 01/31/2017         2,412.41
Property Address: 2498 S WISNER RD Ml
The following parties may have an interest in this property:
GINGRICH JOHN F & ANGELA S
FIRST AMERICAN REAL ESTATE TAX SERV
 DESCRIPTION OF PROPERTY: WD L 596 P 417 COM 1637.80 FT S OF NE COR OF SEC, TH S 662 FT, W 423.61 FT TO    E'LY TOP OF
BANK OF ftl2 BAD RIVER DRN, TH N 24 DEG 30' 46" E ALG SD TOP OF BANK 395.37 FT, TH N 36 DEG 14' 22'' E ALG SD TOP OF
BANK 369.16 FT, TH N 83 DEG 45'   35" E 41.59 FT TO POB, SEC 13-10-2. 3.8 A M/L,


ParceiiD#: 11-015-024-00                         Amount to Redeem as of 01/31/2017         1,576.31
Property Address: 106 N MAIN ST Ml
The following parties may have an interest in this property:
BOHNETTWILLIAM
DESCRIPTION OF PROPERTY: WD L 587 P 241 COM 107 1/2 FT N OF SW COR OF SEC, TH E 10 RDS, N 57 1/2 FT, W     10 RDS, S
57 1/2 FT TO BEG, SEC 15-10-2. 0.22 A.

ParceiiD#: 11-022-006-00                         Amount to Redeem as of 01/31/2017          536.75
Property Address: E JOHNSON (3000) RD Ml
The following parties may have an interest in this property:
COOK ROBERT & JAMES COOK
DESCRIPTION OF PROPERTY: 13 1/2 RDS N & S BY 17 1/2 RDS E & W IN SE COR OF E 16 A OF SW 1/4 OF SW 1/4 EX E 6 RDS,
SEC 22-10-2. 0.97 A M/L.

ParceiiD#: 11-022-007-00                         Amount to Redeem as of 01/31/2017          451.98
Property Address: E JOHNSON (3000) RD Ml
The following parties may have an interest in this property:
COOK ROBERT & JAMES COOK
DESCRIPTION OF PROPERTY: COM AT SE COR OF SW 1/4 OF SW 1/4, TH W 6 RDS, N 13 1/2 RDS, E 6 RDS, S 13 1/2    RDS TO BEG,
SEC 22-10-2. 0.50 A M/L.

ParceiiD#: 11-022-018-00                         Amount to Redeem as of 01/31/2017        2,081.66
Property Address: 203 S MAIN ST Ml
The following parties may have an interest in this property:
ASHLEY HARDY
MORRIS JASON & ASHLEY
DESCRIPTION OF PROPERTY: WD L 410 P 166 COM 26 RDS S OF NW COR OF SEC, TH S 5 RDS 1 1/2 FT, E 363 FT, N    1 RD 1 1/2
FT, E 5.28 FT N 4 RDS, W 22 RDS 5.28 FT TO POB EX E 1 RD OF N 4 RDS, SEC 22-10-2. 0.70 A M/L.

ParceiiD#: 12-070-010-00                         Amount to Redeem as of 01/31/2017        1,526.81
Property Address: 3926 W JEFFERSON RD ALMA Ml
The following parties may have an interest in this property:
CHEMICAL BANK
KRANTZ DAWN MARIE
DESCRIPTION OF PROPERTY: VILLAGE OF FOREST HILL LOT 6 EX 4 FT OFF W SIDE BLOCK F.

ParceiiD#: 13-004-008-02                         Amount to Redeem as of 01/31/2017          683.54
Property Address: 9944 PARKS RD
The following parties may have an interest in this property:
SMITH WILLIAM SHANE & HEATHER DAWN
DESCRIPTION OF PROPERTY: THEE 1/2 OF SE 1/4 OF SW 1/4 OF NW 1/4. SEC 4-12-4. 5.22 A SPLIT FROM 008-01      IN 2007




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ParceiiD#: 13-018-008-01                         Amount to Redeem as of 01/31/2017        2,003.34
Property Address: N LUMBERJACK RD
The following parties may have an interest in this property:
CHEMICAL BANK
HANSEN TERRY
DESCRIPTION OF PROPERTY: WD L 543 P 1498 N 1/2 OF ALL THAT PART OF THE NW 1/4 OF NE 1/4 LYING ON E SIDE OF
LUMBERJACK RD, EXCEPT COMMENCING AT THE NORTH 1/4 CORNER OF NE 1/4 THEN W    443.27 1 S 256.12, W 215', THEN SW 35',
W 170' TH CENTER OF LUMBERJACK RD, NORTH 259.12' TO THE P.O.B SEC 18-12-4. SEVILLE TWP., GRATIOT COUNTY. Split on
03/21/2011 from 13-018-008-00; INTO 13-018-008-01 AND 13-018-008-10


ParceiiD#: 13-026-006-10                         Amount to Redeem as of 01/31/2017        1,098.57
Property Address: 7706 N BLISS RD
The following parties may have an interest in this property:
FREED DONALD E
DESCRIPTION OF PROPERTY: WD L 463 P 1413 N 1/2 OF S 1/2 OF NW 1/4 EX 330 FT N & S BY 660 FT E & W IN NW   COR OF SEC
26-12-4. 35 A. SEVILLE TWP., GRATIOT COUNTY.

Parcel ID#: 13-029-009-00                        Amount to Redeem as of 01/31/2017        2,363.91
Property Address: 7896 N FERRIS RD
The following parties may have an interest in this property:
DEPARTMENT OF TREASURY
HOSKEY KELLY LOUISE
DESCRIPTION OF PROPERTY: WD L 608 P 1201 COM AT SECOR OF LOT 20 SCHNEPP PLAT, TH W 173 FT TO CENTER OF    FERRIS RD,
S 160FT, E 173 FT, N 160FT TO BEG, SEC 29-12-4. SEVILLE TWP.,       GRATIOT COUNTY.

ParceiiD#: 13-030-023-00                          Amount to Redeem as of 01/31/2017       1,664.53
Property Address: 7013 N LUMBERJACK RD
The following parties may have an interest in this property:
ROSE PRESTON
DESCRIPTION OF PROPERTY: E 1/2 OF S 5 A OF SE 1/4 OF SW 1/4 SEC 30-12-4. 2.50 A. SEVILLE TWP., GRATIOT    COUNTY.

ParceiiD#: 13-030-025-10                         Amount to Redeem as of 01/31/2017        1,353.67
Property Address: 7260 NW COUNTY LINE RD RIVERDALE Ml
The following parties may have an interest in this property:
BRUSH JAMES
DESCRIPTION OF PROPERTY: COM 20 RDS S OF NW COR OF SW 1/4 OF SW 1/4, TH S 20 RDS, E 16 RDS 1 N 20 RDS, W 16 RDS TO
POB, SEC 30-12-4. 2 A. SEVILLE TWP., GRATIOT COUNTY.

ParceiiD#: 13-036-002-30                         Amount to Redeem as of 01/31/2017        1,627.72
Property Address: N RICH (6000) RD
The following parties may have an interest in this property:
MCCREERY SCOTT T & JILL
DESCRIPTION OF PROPERTY: COM 64.20 FT N & 375 FT W OF E 1/4 COR OF SEC, TH W 536 FT, N 633.26 FT, E 536 FT, S 226
FT, E 375FT, S 148.89 FT, W 375FT, S 260.90 FT TO POB, SEC 36-12-4. 9.07 A M/L. SEVILLE TWP., GRATIOT COUNTY. FOR
2002 SPLIT FROM 036-002-20

ParceiiD#: 13-353-012-00                         Amount to Redeem as of 01/31/2017        1,849.41
Property Address: 6515 PERE MARQUETTE ELWELL Ml
The following parties may have an interest in this property:
THOMPSON ZACHARY & ASHLEY
DESCRIPTION OF PROPERTY: SUPERVISORS PLAT OF THE VILLAGE OF ELWELL, LOT 11 BLOCK 3 EX N 10 FT OF E 100    FT, ALSO W
67 FT OF LOT 12, BLOCK 3. SEVILLE TWP., GRATIOT COUNTY.

ParceiiD#: 13-404-001-00                         Amount to Redeem as of 01/31/2017        2,311.90
Property Address: 6409 MILL ST
The following parties may have an interest in this property:
DITECH FINANCIAL LLC
MICHIGAN DEPT OF TREASURY
BEEBE DALE                                         PAGE: 22
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 DESCRIPTION OF PROPERTY: WD L 596 P 884 RIVERDALE, LOTS 1 THRU 5 INCL, BLK 4. SEVILLE TOWNSHIP, GRATIOT
                                                                                      COUNTY

ParceiiD#: 13-404-006-00                         Amount to Redeem as of 01/31/2017        1'140.34
Property Address: 6395 MILL ST
The following parties may have an interest in this property:
DITECH FINANCIAL LLC
MICHIGAN DEPT OF TREASURY
BEEBE DALE
DESCRIPTION OF PROPERTY: DEED L 596 P 886 RIVERDALE, LOTS 6-10 INCL, BLOCK 4. SEVILLE TOWNSHIP, GRATIOT    COUNTY

Parcel ID#: 13-404-019-00                        Amount to Redeem as of 01/31/2017          651.89
Property Address: N LUMBERJACK/3RD RD
The following parties may have an interest in this property:
CROOKS BRENDA
BETZER LINDA
BETZER DALE
DESCRIPTION OF PROPERTY: RIVERDALE, LOTS 19 & 20 EX N 46 1/2 FT OF LOT 20, BLOCK 4. SEVILLE TWP.,          GRATIOT
COUNTY.

ParceiiD#: 13-406-003-00                         Amount to Redeem as of 01/31/2017           40.07
Property Address: 6394 RIVER ST
The following parties may have an interest in this property:
FREDERICK MARKOVICH
ROBINSON CYNTHIA A
DESCRIPTION OF PROPERTY: DEED L 557 P 32 RIVERDALE, S 1/2 OF W 100 FT OF LOT 3 & W 100 FT OF LOT 4,        BLOCK 6.
SEVILLE TWP., GRATIOT COUNTY.

ParceiiD#: 13-414-003-00                         Amount to Redeem as of 01/31/2017         654.83
Property Address: 6091 MILL ST
The following parties may have an interest in this property:
WINN PATRICK J
DESCRIPTION OF PROPERTY: RIVERDALE, LOT 3 BLOCK 14. SEVILLE TWP., GRATIOT COUNTY.

ParceiiD#: 13-601-027-00                         Amount to Redeem as of 01/31/2017         538.37
Property Address: 6611 N LUMBERJACK RD RIVERDALE Ml
The following parties may have an interest in this property:
BEEBE JANET
BEEBE DAVID M & SMITH DANIELLE S
DESCRIPTION OF PROPERTY: SUPERVISOR'S PLAT OF W A BRADLEY'S ADD TO RIVERDALE, LOTS 27, 28, & 29, ELK 1.    SEVILLE
TWP., GRATIOT COUNTY.

ParceiiD#: 14-002-009-00                         Amount to Redeem as of 01/31/2017        1,788.13
Property Address: 7731 W LINCOLN RD ELWELL Ml
The following parties may have an interest in this property:
DETZLER NICOLE
DESCRIPTION OF PROPERTY: WD L 574 P 527 COM 1512 FT E OF NW COR OF SEC, TH S 12.6 RDS, E 104 FT N 12.6     RDS, W 104
FT TO BEG, SEC 2-11-4. 0.50 A.

ParceiiD#: 14-004-008-00                         Amount to Redeem as of 01/31/2017        1,287.72
Property Address: 9787 W LINCOLN RD Ml
The following parties may have an interest in this property:
HOPE EICHORN
STEARNS JIM M
DESCRIPTION OF PROPERTY: E 160 FT OF N 272.25 FT OF NW 1/4 OF NW 1/4, SEC 4-11-4. 1 A.




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ParceiiD#: 14-006-016-00                         Amount to Redeem as of 01/31/2017          466.68
Property Address: 11898 W VAN BUREN RD ELM HALL Ml
The following parties may have an interest in this property:
WILES HENRY W
 DESCRIPTION OF PROPERTY: COM 37 1/2 RDS E OF SW COR OF SEC, TH N 18 RDS, E 8 1/2 RDS, S 18 RDS, W 8 1/2   RDS TO BEG,
 SEC 6-11-4. 0.96 A M/L.

ParceiiD#: 14-013-001-00                         Amount to Redeem as of 01/31/2017        2,169.82
Property Address: N RICH (3000) RD Ml
The following parties may have an interest in this property:
UNEMPLOYMENT TAX LEIN
FOX THOMAS
DESCRIPTION OF PROPERTY: S 1/2 OF NE 1/4 EX COM AT SE COR, TH N 245 FT, W 356 FT, S 245 FT, E 356 FT TO    POB, SEC 13
-11-4. 78 A.


ParceiiD#: 14-018-012-00                          Amount to Redeem as of 01/31/2017         740.14
Property Address: 3490 N LUMBERJACK RD Ml
The following parties may have an interest in this property:
KING DAWN M
DESCRIPTION OF PROPERTY: WD L 592 P 57 COM AT NE COR OF NE 1/4 OF SW 1/4, TH W 208.7 FT, S 208.7 FT, E     208.7 FT, N
208.7 FT TO BEG, SEC 18-11-4. 1 A.

Parcel ID#: 14-020-009-20                        Amount to Redeem as of 01/31/2017        1,548.54
Property Address: 2878 N FERRIS RD Ml
The following parties may have an interest in this property:
Ml DEPT OF TREASURY-COLLECTIONS
WALDRON JARRED
HUNT LYNNA
DESCRIPTION OF PROPERTY: WD L 612 P 1020 A PARCEL 300 FT N & S BY 375 FT E & W IN SW COR OF N 1/2 OF NW    1/4 SEC 20-
11-4. 2.58 A.   , SPLIT FROM 020-009-00 IN 2000.


ParceiiD#: 14-023-020-10                         Amount to Redeem as of 01/31/2017        1,588.43
Property Address: 2095 N PINGREE RD ALMA Ml
The following parties may have an interest in this property:
PICKENS JOHN E JR
DESCRIPTION OF PROPERTY: LC L 543 P 907 COM 16 RDS N OF SE COR OF SEC, TH N 184 FT, W 237 FT, S 184 FT,    E 237 FT TO
POB, SEC 23-11-4. 1 A.

ParceiiD#: 14-034-015-00                         Amount to Redeem as of 01/31/2017         585.38
Property Address: 8520 W SAND RD Ml
The following parties may have an interest in this property:
GRIFFIN ROBERT W & LEANN M
DESCRIPTION OF PROPERTY: M OF LC L 491 P 746 14 RDS 6 FT N & S BY 15 RDS E & W IN SW COR OF NE 1/4 OF NW 1/4 SEC 34-
11-4. 1 1/3 A.

ParceiiD#: 14-400-022-10                         Amount to Redeem as of 01/31/2017        1,262.16
Property Address: 11430 W VAN BUREN RD ELM HALL Ml
The following parties may have an interest in this property:
GLADDING MELISSA JANE
DESCRIPTION OF PROPERTY: TRAPP'S SUB-DIVISION OF THE VILLAGE OF ELM HALL LOT 4 & W 1/2 OF LOT 5, BLK 10.

ParceiiD#: 15-003-009-10                         Amount to Redeem as of 01/31/2017         220.41
Property Address: 6099 S BALDWIN RD
The following parties may have an interest in this property:
RYAN O'CONNOR
O'CONNOR RYAN
DESCRIPTION OF PROPERTY: COM 383 FT S OF NW COR OF SEC, TH S 300 FT, E 330 FT, N 300 FT, W 330 FT TO POB SEC 3-9-2.
2,27 A M/L. WASHINGTON TWP., GRATIOT COUNTY.
                                                    PAGE: 24
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ParceiiD#: 15-005-006-10                         Amount to Redeem as of 01/31/2017          1,189.95
Property Address: 1931 E GARFIELD ASHLEY Ml
The following parties may have an interest in this property:
WILLIAMS DOUGLAS R
4 PINES INVESTMENTS INC
 DESCRIPTION OF PROPERTY: SPLIT FROM 005 006 00 DESCRIPTION PARCEL A PART OF THE SE 1/4 OF THE SE 1/4   OF
 SECS,T9N, R2W, WASHINGTON TWP, GRATIOT COUNTY, MI, COMMENCING AT THE SE    CORNER OF SAID SEC , THENCE N89 38'36W
 386FT ALONG THESOUTH SEC LINE OF SAID   SEC TO POINT OF BEGINNING; THENCECONTINUING N89 38'36"W 155.30 FT ALONG THE
 S  SEC LINE OF SAID SEC; THENCE NOO 03 38W 320.29 FT: THENCE 888 58 43E 155.32 FT; THENCE SOO 03 38 E 318.49 FT TO
THE POINT OF BEGINNING.  THIS PARCEL CONTAINS    1.1 ACRES MORE OR LESS AND IS SUBJECT TO EASEMENTS AND SERVITUDES OF
USE OR     RECORD, IF ANY.

ParceiiD#: 15-005-006-20                          Amount to Redeem as of 01/31/2017         1,963.17
Property Address: 1969 E GARFIELD ASHLEY Ml
The following parties may have an interest in this property:
WILLIAMS DOUGLAS R
4 PINES INVESTMENTS, INC
DESCRIPTION OF PROPERTY: SPLIT FROM 005 006 00 DESCRIPTION PARCEL B PART OF THE SE 1/4 OF TTHE SE 1/4 OF SEC 5,
T9N, R2W,  WASHINGTON TWP GRATIOT COUNTY, MI.   COMMENCING AT THESE   CORNER OF SAID SEC, THENCE N89 38 36W 271.33
FT ALONG THES SEC LINE OF SAID SEC TO THE POINT OF BEGINNING; THENCE CONTINUING N89 38 36 W 114.67 FT ALONG THE S
SEC LINE OF SAID SEC; THENCE NOD 03 38 W 318.49 FT; THENCE S88 58 43 W 314.72 FT; THENCE SOD 03 38 E 14.84 FT;
THENCE S33 45 27 W 359.34 FT TO THE POINT OF   BEGINNING. THIS PARCEL CONTAINS 1.6 ACRES MORE OR LESS AND IS
SUBJECT TO       EASEMENTS AND SERVITUDES OF USE OR RECORD IF ANY.


ParceiiD#: 16-001-014-00                         Amount to Redeem as of 01/31/2017         3,880.27
Property Address: 11701 E ADAMS ROAD WHEELER Ml
The following parties may have an interest in this property:
CHASNIS ANDREW THOMAS
 DESCRIPTION OF PROPERTY: WD L 497 P 1459 SW 1/4 OF SE,   EX THEE 216 1/2 FT & EX W 290 FT, SEC 1-12-1.   24.65 AC
M/L.


ParceiiD#: 16-004-013-00                         Amount to Redeem as of 01/31/2017           797.97
Property Address: 8989 E ADAMS RD WHEELER Ml
The following parties may have an interest in this property:
WATKINS SHARYL KAY
DESCRIPTION OF PROPERTY: WD L 557 P 186 10 RDS E & W BY 8 RDS N & S IN SE COR, SEC 4-12-1. 1/2 A.


ParceiiD#: 16-012-002-21                         Amount to Redeem as of 01/31/2017           817.70
Property Address: 10815 NNE CO LINE RD MERRILL Ml
The following parties may have an interest in this property:
BROWN DAVID A SR.
DESCRIPTION OF PROPERTY: COM 910.85 FT S OF NE COR OF SEC, TH S 200 FT, W 475 FT, N 200 FT, E 475 FT TO   POB, SEC 12
-12-1. 2.18 A M/L . . FOR 2003 PART OF 012-002-00 & 012-002-20


ParceiiD#: 16-017-007-20                         Amount to Redeem as of 01/31/2017            84.12
Property Address: 7145 E MCGREGOR RD WHEELER Ml
The following parties may have an interest in this property:
SEELEY TERRY
DESCRIPTION OF PROPERTY: WD L 624 P 565 COM 400 FT W 0~ SE COR OF SW 1/4 OF NW 1/4, TH N 216 FT, W 200    FT, S 216
FT 1 E 200 FT TO POB, SEC 17-12-1. 0.99 A M/L.


ParceiiD#: 16-017-007-30                         Amount to Redeem as of 01/31/2017         1,178.03
Property Address: 7165 E MCGREGOR RD WHEELER Ml
The following parties may have an interest in this property:
PETERS DAVID E & EILEEN
DESCRIPTION OF PROPERTY: COM 200 FT W OF SE COR OF SW 1/4 OF NW 1/4, TH N 216 FT, W 200 FT, S 216 FT, E   200 FT TO
POB, SEC 17-12-1. 0.99 A M/L


ParceiiD#: 16-022-005-00                         Amount to Redeem as of 01/31/2017           439.59
Property Address: 9290 E MADISON RD WHEELER Ml
                                                      PAGE: 25
The following parties may have an interest in this property:
 SEELEY Case
        TERRY1:19-cv-11887-TLL-PTM ECF No. 1-2, PageID.48 Filed 06/25/19 Page 26 of 37
 DESCRIPTION OF PROPERTY: COM 503 FT 33 IN E OF NW COR OF W 1/2 OF NE 1/4 OF NW 1/4, TH S 330 FT, E 264    FT, N 330
 FT, W 264 FT TO BEG, SEC 22-12-1. 2 A. WHEELER TOWNSHIP GRATIOT       COUNTY

ParceiiD#: 16-028-001-00                         Amount to Redeem as of 01/31/2017          1,211.43
Property Address: 8574 E MONROE RD WHEELER Ml
The following parties may have an interest in this property:
RIEDEL JANET
METCALF DENNIS
 DESCRIPTION OF PROPERTY: COM 12 RDS W OF NE COR OF W 47 A OF NE 1/4, TH S 40 RDS, W 18 RDS, N 40 RDS, E   18 RDS TO
 BEG, SEC 28-12-1. 4.5 A.

ParceiiD#: 16-400-420-00                         Amount to Redeem as of 01/31/2017          1,197.91
Property Address: 8547 E LINCOLN STREET WHEELER Ml
The following parties may have an interest in this property:
GATH DONALD EDWARD- TRUSTEE
JERRY LOUIS & TAMTHA
 DESCRIPTION OF PROPERTY: M OF LC 1 906 P 437; VILLAGE OF WEEELER H C BRECKENRIDGE'S ADDITION S 12 FT OF   LOT 15, &
 LOT 20, BLK 4. WHEELER TOWNSHIP, GRATIOT COUNTY

ParceiiD#: 16-600-601-00                         Amount to Redeem as of 01/31/2017          2,487.75
Property Address: 8351 N WHEELER RD WHEELER Ml
The following parties may have an interest in this property:
HARTMAN WENDY MARIE
DESCRIPTION OF PROPERTY: WD L 538 P 883 VILLAGE OF WHEELER THOMAS MURPHY'S ADDITION LOTS 1 & 2 BLOCK 6.

ParceiiD#: 16-600-708-00                         Amount to Redeem as of 01/31/2017          1,011.39
Property Address: 8333 N WHEELER RD WHEELER Ml
The following parties may have an interest in this property:
CARDENAS ANTONIO
ROBERTS-CARDENAS CONNIE
CARDENAS ANTONIO & CONNIE ROBERTS-
DESCRIPTION OF PROPERTY: VILLAGE OF WHEELER THOMAS MURPHY'S ADDITION, LOTS 7 & 8 BLOCK 7.

ParceiiD#: 41-100-086-00                          Amount to Redeem as of 01/31/2017         1,201.44
Property Address: 202 N STERLING ST
The following parties may have an interest in this property:
MICHIGAN DEPT OF TREASURY
SUTTEN JAMES E, JR & FAITH D
DESCRIPTION OF PROPERTY: WD L 611 P 408 VILLAGE OF ASHLEY LOTS 86 TO 89 INCL. GRATIOT COUNTY

ParceiiD#: 41-100-241-00                         Amount to Redeem as of 01/31/2017          1,299.34
Property Address: 209 S QUARTERLINE ST ASHLEY Ml
The following parties may have an interest in this property:
MCELHANEY DAVID
MCELHANEY DAVID LEE & ANGELA
HOMEEQ
DESCRIPTION OF PROPERTY: WD L 500 P 578 VILLAGE OF ASHLEY, GRATIOT COUNTY. LOT 241.

Parcel ID#: 41-150-013-00                        Amount to Redeem as of 01/31/2017          3,735.77
Property Address: 201 N HERRING ST
The following parties may have an interest in this property:
CITIFINANCIAL MORTGAGE COMPANY
SPITZLEY CRAIG
DESCRIPTION OF PROPERTY: WD L 591 p 194 VILLAGE OF ASHLEY, GRATIOT COUNTY UNPLATTED COM 44 RDS 15 FT S    OF NE COR

                                                    PAGE: 26
OF NV1 1/4 FRL OF NW 1/4 FRL, TH S 100.5 FT, W 302.28 FT 1 N 100.5 FT, E 302.28 FT TO POB, SEC 7-9-1. 0.70 A M/L.
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Parcel ID#: 41-600-356-00                        Amount to Redeem as of 01/31/2017         2,814.03
Property Address: 214 N REED ST
The following parties may have an interest in this property:
HARLAN & MARY BEARDEN
BEARDEN HARLAN J, JR & MARY A
 DESCRIPTION OF PROPERTY: WD L 460 P 1163 VILLAGE OF ASHLEY, GRATIOT COUNTY. PHINNEY'S ADDITION LOTS 356   & 357.
 MAINTENANCE EXEMPTION

Parcel ID#: 41-600-375-00                        Amount to Redeem as of 01/31/2017         2,008.27
Property Address: 214 N HERRING ST                        '
The following parties may have an interest in this property:
HARLAN & MARY BEARDEN
BEARDEN HARLAN J, JR & MARY A
 DESCRIPTION OF PROPERTY: WD L 502 P 973 VILLAGE OF ASHLEY, GRATIOT COUNTY. PHINNEY'S ADDITION LOT 375, & N 14 FT OF
 LOT 376.


ParceiiD#: 42-119-009-00                          Amount to Redeem as of 01/31/2017        3,432.13
Property Address: 221 E SAGINAW ST BRECKENRIDGE Ml
The following parties may have an interest in this property:
ISABELLA BANK
BELLES EDWARD L & GLORIA A
DESCRIPTION OF PROPERTY: WD L 543 P 653 VILLAGE OF BRECKENRIDGE ORIGINAL PLAT COM 88 FT E OF SW COR OF     BLK 19, TH
E 36 FT, N 63.6 FT, W'LY PARALLEL TO & DISTANT 25 FT S'LY FROM        MEASURED AT RT ANGLES TO THE CENTER LINE OF RR
MAIN TRACK A DISTANCE OF 36.2    FT, S 59.3 FT TO BEG, BLOCK 19.


ParceiiD#: 42-150-037-00                          Amount to Redeem as of 01/31/2017        2,722.86
Property Address: 502 W SAGINAW ST BRECKENRIDGE Ml
The following parties may have an interest in this property:
DITECH FINANCIAL LLC
FETTERS ROBERT DEXTER
DESCRIPTION OF PROPERTY: WD L 574 P 1241 VILLAGE OF BRECKENRIDGE, GRATIOT COUNTY UNPLATTED COM 370 FT E    OF SW COR
OF SEC, THE 97 FT, N 237.5 FT, W 97 FT, S 237.5 FT TO BEG, SEC        19-12-1.

ParceiiD#: 42-150-051-50                         Amount to Redeem as of 01/31/2017           202.38
Property Address: 232 ELM ST BRECKENRIDGE Ml
The following parties may have an interest in this property:
CT LIEN SOLUTIONS
CARMEL FINANCIAL CORP
SCHULTZ DONALD K- TRUST
DESCRIPTION OF PROPERTY: WD L 540 P 1141 COM 4 RDS N & 658.30 FT W OF NW COR OF BLK 12, TH W 117 FT, N     143FT, E
117 ~T, S 143 FT TO POB, SEC 19-12-1.

ParceiiD#: 42-150-064-00                         Amount to Redeem as of 01/31/2017         1,352.39
Property Address: 520 E SUMMIT ST BRECKENRIDGE Ml
The following parties may have an interest in this property:
MC CLINTIC DANIEL R & KELLY J
DESCRIPTION OF PROPERTY: LC L 552 P 919 VILLAGE OF BRECKENRIDGE UNPLATTED COM. 1149.72 FT N & 33FT. W      OF SECOR
OF ~EC. W 690 FT. TO PT. OF BEG. TH W 80 FT, S 204 FT, E 80 FT N 204 FT. TO BEG. SEC. 19-12-1.

ParceiiD#: 42-308-011-00                          Amount to Redeem as of 01/31/2017          857.34
Property Address: 204 FOURTH ST BRECKENRIDGE Ml
The following parties may have an interest in this property:
PHELPS DAISY
DESCRIPTION OF PROPERTY: ASSESSOR 1 S PLAT OF SOUTH BRECKENRIDGE LOT 11 EX W 22 FT BLOCK 8, VILLAGE OF
BRECKENRRIDGE, GRATIOT COUNTY



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ParceiiD#: 42-315-001-00                         Amount to Redeem as of 01/31/2017             62.47
Property Address: 203 SIXTH STREET BRECKENRIDGE Ml
The following parties may have an interest in this property:
NICHOLS CHRISTOPHER K
 DESCRIPTION OF PROPERTY: ASSESSOR'S PLAT OF SOUTH BRECKENRIDGE LOT 1 BLOCK 15.

ParceiiD#: 43-100-069-01                         Amount to Redeem as of 01/31/2017         432.11
Property Address: 212 W FULTON ST PERRINTON Ml
The following parties may have an interest in this property:
JP MORGAN CHASE BANK
ARNTZ TINA L
Parcel ID#: 43-300-020-00                        Amount to Redeem as of 01/31/2017        1,375.57
Property Address: 404 E FULTON ST
The following parties may have an interest in this property:
G. REYNOLDS SIMS & ASSOC, P.C.
ZELINSKI JAMiE
DESCRIPTION OF PROPERTY: DEED L 558 P 860 VILLAGE OF PERRINTON, GRATIOT COUNTY. UNPLATTED COM. 4 RDS E    OF NE COR.
OF LOT 244 THE 92 FT, S 132 FT, W 92 FT, N 132FT TO POB 1 SEC         9-9-3.

ParceiiD#: 43-700-322-50                         Amount to Redeem as of 01/31/2017        1,387.23
Property Address: 501 ROBINSON ST
The following parties may have an interest in this property:
BYERS CANDY
MARTIN BONNIE J
DESCRIPTION OF PROPERTY: THE FULTON ADDITION TO THE VILLAGE OF PERRINTON, GRATIOT COUNTY. S 132 FT OF     LOTS 322 &
323 & 1/2 A IN SW COR OF N 55 A OF W 1/2 OF SW 1/4 10 RDS E & W BY 8 RDS N & S IN SEC 9-9-3.


ParceiiD#: 51-010-161-00                         Amount to Redeem as of 01/31/2017       1,156.45
Property Address: 163 CRYSTAL CT ALMA Ml
The following parties may have an interest in this property:
KEATING NICHOLAS CHARLES
KEATING NICHOLAS CHARLES
DESCRIPTION OF PROPERTY: GEMSTONE FIELDS CONDOMINIUM UNIT 61

ParceiiD#: 51-010-166-00                         Amount to Redeem as of 01/31/2017         980.67
Property Address: 294 GEMSTONE DR ALMA Ml
The following parties may have an interest in this property:
INTERNAL REVENUE SERVICE
RHYNARD JON L
DESCRIPTION OF PROPERTY: GEMSTONE FIELDS CONDOMINIUM UNIT 66

ParceiiD#: 51-021-011-00                         Amount to Redeem as of 01/31/2017         419.25
Property Address: N GROVER AVE ALMA Ml
The following parties may have an interest in this property:
STATE OF Ml
FOX THOMAS A & SHARON E
DESCRIPTION OF PROPERTY: COM 264 3/4 FT S OF NW COR OF SEC 2-11-3, E 11 RDS 5 1/2 FT, S 40 1/2 FT, W 11   RDS 5 1/2
FT, N 40 1/2 FT TO BEG.

ParceiiD#: 51-021-019-00                         Amount to Redeem as of 01/31/2017       1,722.69
Property Address: 313 PLEASANT AVE ALMA Ml
The following parties may have an interest in this property:
STATE OF MICHIGAN
FOX THOMAS A & SHARON E

                                                    PAGE: 28
DESCRIPTION OF PROPERTY: COM 40 RDS E, 30 RDS S OF NW COR OF SEC 2-11-3, W 20 RDS, S 3 RDS, E 20 RDS, N 3 RDS TO
BEG.
          Case 1:19-cv-11887-TLL-PTM ECF No. 1-2, PageID.51 Filed 06/25/19 Page 29 of 37
ParceiiD#: 51-021-109-00                         Amount to Redeem as of 01/31/2017             823.37
Property Address: 208 WILLIAMETTE AVE ALMA Ml
The following parties may have an interest in this property:
MERCANTILE BANK
 PARCHER JILL
 HERNANDEZ JOHN N
 DESCRIPTION OF PROPERTY: N 7 1/2 FT OF LOT 5 AND LOT 6 EX. THE N 15.07 FT OF THE W 64 FT.     BLK 4 OAK   GROVE ADD.

ParceiiD#: 51-021-111-20                         Amount to Redeem as of 01/31/2017              49.99
Property Address: WILLIAMETTE AVE ALMA Ml
The following parties may have an interest in this property:
BARCZAK TIMOTHY & LORI
 DESCRIPTION OF PROPERTY: LOT 1 AND THE NORTH 1/2 OF LOT 2, BLOCK 6,    OAK GROVE ADDITION, CITY OF ALMA   GRATIOT
 COUNTY MICHIGAN ACCORDING TO THE PLAT THEREOF RECORDED IN LIBER 1 OF     PLATS, PAGE 109 OF GRATIOT CO RECORDS

ParceiiD#: 51-021-269-00                         Amount to Redeem as of 01/31/2017           1,067.03
Property Address: E SUPERIOR ST ALMA Ml
The following parties may have an interest in this property:
VANHOOSE DOUGLAS E & KIMBERLEE M
DESCRIPTION OF PROPERTY: ELMWOOD PARK SUB   LOTS 30-32

ParceiiD#: 51-021-271-00                         Amount to Redeem as of 01/31/2017           1,223.08
Property Address: 1532 E SUPERIOR ST ALMA Ml
The following parties may have an interest in this property:
VANHOOSE DOUGLAS E & KIMBERLEE M
DESCRIPTION OF PROPERTY: ELMWOOD PARK SUB. LOT 28.

ParceiiD#: 51-021-282-00                         Amount to Redeem as of 01/31/2017            625.79
Property Address: LINWOOD ALMA Ml
The following parties may have an interest in this property:
HUSTED TYLER
DESCRIPTION OF PROPERTY: ELMWOOD PARK SUBDIVISION, S 40 FT OF LOT 54.

ParceiiD#: 51-021-285-00                         Amount to Redeem as of 01/31/2017           2,893.25
Property Address: 1505 EASTWARD ALMA Ml
The following parties may have an interest in this property:
HUSTED TYLER
DESCRIPTION OF PROPERTY: ELMWOOD PARK SUBDIVISION, LOT 55.

ParceiiD#: 51-021-334-00                         Amount to Redeem as of 01/31/2017           1,868.07
Property Address: 110 LINWOOD ALMA Ml
The following parties may have an interest in this property:
DAVALOZ DOMINGO
ERIC JELLISON
ZACH JELLISON
JELLISON RICK
DESCRIPTION OF PROPERTY: ELMWOOD PARK SUBDIVISION, LOTS 81 & 82.

ParceiiD#: 51-021-761-00                         Amount to Redeem as of 01/31/2017           2,444.15
Property Address: 1107 ROSEDALE ST ALMA Ml
The following parties may have an interest in this property:
NELSON ROBBIE
DESCRIPTION OF PROPERTY: SUNNYSIDE ADDITION, LOT 14.



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ParceiiD#: 51-021-768-00                         Amount to Redeem as of 01/31/2017        2,417.40
Property Address: 113 S GROVER AVE ALMA Ml
The following parties may have an interest in this property:
STATE OF MICHIGAN
FOX THOMAS
 DESCRIPTION OF PROPERTY: SUNNYSIDE ADDITION, LOTS 45 & 46.


ParceiiD#: 51-031-038-00                         Amount to Redeem as of 01/31/2017          410.34
Property Address: 113 W SUPERIOR ST ALMA Ml
The following parties may have an interest in this property:
111 & 113 W SUPERIOR LLC
DESCRIPTION OF PROPERTY: WEST 1/2 OF PARCEL LOCATED IN ELYTON SUBDIVISION.   COM AT THE NW COR LOT 1 BLK   3, TH E 52'
S 118' W 52' N 118' TO BEG. PART OF LOTS 1 AND 2 BLOCK 3.

ParceiiD#: 51-031-066-00                         Amount to Redeem as of 01/31/2017          886.03
Property Address: 208 PARK DR ALMA Ml
The following parties may have an interest in this property:
IRS
MICH DEPT OF TREASURY
HOBEREK ADAM R & JEANETTE
DESCRIPTION OF PROPERTY: ELYTON, LOT 13, BLOCK 5.

ParceiiD#: 51-031-288-00                         Amount to Redeem as of 01/31/2017        4,356.58
Property Address: 318 WOODWORTH AVE ALMA Ml
The following parties may have an interest in this property:
FREED CONSTRUCTION COMPANY
BURFORD PLUMBING & HEATING
ACAC PROPERTY, LLC
ACAC PROPERTY, LLC
DESCRIPTION OF PROPERTY: N 1/3 OF LOT 21 & ALL OF LOTS 22, 23, & 24, BLK 23 OT

ParceiiD#: 51-031-530-00                         Amount to Redeem as of 01/31/2017        2,189.13
Property Address: 156 ALLEN AVE ALMA Ml
The following parties may have an interest in this property:
ADAMS CHRISTINA L
DESCRIPTION OF PROPERTY: ROCKINGHAM PLACE, S 22 FT OF LOT 59 & N 22 FT OF LOT 60.

ParceiiD#: 51-031-807-00                         Amount to Redeem as of 01/31/2017        1,967.66
Property Address: 115 HILL ALMA Ml
The following parties may have an interest in this property:
TERWILLIGER LYLE
CABRERA CHRISTIN LYNN
DESCRIPTION OF PROPERTY: RIVERVIEW ADD    LOT 87    LOT 88


ParceiiD#: 51-032-276-00                         Amount to Redeem as of 01/31/2017        1,475.16
Property Address: 114 WHEELER ST ALMA Ml
The following parties may have an interest in this property:
MCCREERY SCOTT T & JILL M
DESCRIPTION OF PROPERTY: MARY WHEELER ADDITION, S 16FT OF LOT 23 & N 16FT OF LOT 24,

ParceiiD#: 51-032-772-00                         Amount to Redeem as of 01/31/2017         787.58
Property Address: S RIVER AVE ALMA Ml
The following parties may have an interest in this property:
VANHOOSE DOUGLAS E & KIMBERLEE M
DESCRIPTION OF PROPERTY: SOUTHVIEW ADD
                                                    PAGE:
                                          LOT 11 BLOCK 1,
                                                           30
                                                        LOT 12 BLOCK 1
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ParceiiD#: 51-032-777-00                         Amount to Redeem as of 01/31/2017          1,305.43
Property Address: 137 GRAFTON ALMA Ml
The following parties may have an interest in this property:
COMMERCIAL BANK
MIKULA DEBRA D
 DESCRIPTION OF PROPERTY: COM 472 FT S OF NW COR OF SW 1/4 OF NE 1/4 OF SEC 3-11-3, S 56 FT E TO AARR     RIGHT OF
 WAY, NW'LY ALONG SAID RIGHT OF WAY TO A POINT DIRECTLY E OF BEGINNING, TH W TO BEG.

ParceiiD#: 51-032-779-00                         Amount to Redeem as of 01/31/2017          3,061.72
Property Address: 109 S COURT AVE ALMA Ml
The following parties may have an interest in this property:
STATE OF MICHIGAN
FOX THOMASA
DESCRIPTION OF PROPERTY: HALL & SHARRAR ADD    N 1/2 OF LOT 38


ParceiiD#: 51-032-796-00                          Amount to Redeem as of 01/31/2017           915.36
Property Address: 139 S COURT AVE ALMA Ml
The following parties may have an interest in this property:
VANHOOSE DOUGLAS E & KIMBERLEE M
DESCRIPTION OF PROPERTY: HALL SHARRAR ADD     LOT 44

ParceiiD#: 51-032-821-00                         Amount to Redeem as of 01/31/2017           853.61
Property Address: 201 VALLEY AVE ALMA Ml
The following parties may have an interest in this property:
NOEL KEVIN MATHEW
DESCRIPTION OF PROPERTY: HALL SHARRAR ADDITION, S 1 RD OF LOT 8 & ALL OF LOT 9.

ParceiiD#: 51-034-029-00                         Amount to Redeem as of 01/31/2017          3,086.23
Property Address: 123 HOLIDAY ALMA Ml
The following parties may have an interest in this property:
SPRINGHILL HOMES LLC
DESCRIPTION OF PROPERTY: HOLIDAY PARK, LOTS 10 & 11 1 BLOCK 3,

ParceiiD#: 51-034-290-00                          Amount to Redeem as of 01/31/2017         2,242.05
Property Address: 324 GRAFTON ALMA Ml
The following parties may have an interest in this property:
LAROSE DOUG & JEN
ISANHART DEBORAH
MILLER LAURIE & BILL
LAROSE JEFFREY & KELLY
LAROSE BRIAN & SONYA
LAROSE MARY E
DESCRIPTION OF PROPERTY: HILLCREST SUBDIVISION, LOTS 138 & 139.


ParceiiD#: 51-034-587-02                         Amount to Redeem as of 01/31/2017          1,967.66
Property Address: 318 HILLSDALE ALMA Ml
The following parties may have an interest in this property:
HULBERT TINA
DESCRIPTION OF PROPERTY: LOT 140 AND 141 AND W 110 FT OF LOT 142      GRAFTON HTS SUB OIV

ParceiiD#: 51-342-874-00                         Amount to Redeem as of 01/31/2017           107.51
Property Address: 405 WASHINGTON ST ALMA Ml
The following parties may have an interest in this property:
DOANTAMMYA

BEG, INCL. PART OF LOT 9, BLOCK 8. FAIRVIEW SUB        PAGE: 31
DESCRIPTION OF PROPERTY: COM 83 FT E OF SW COR OF NE 1/4 OF SEC 34-12-3, TH E 50 FT N 110 FT, W 50 FT S   110 FT TO
            Case 1:19-cv-11887-TLL-PTM ECF No. 1-2, PageID.54 Filed 06/25/19 Page 32 of 37
ParceiiD#: 51-343-121-00                         Amount to Redeem as of 01/31/2017        1,396.29
Property Address: 713 EUCLID ALMA Ml
The following parties may have an interest in this property:
ULRICH ROBERT ANTHONY
 DESCRIPTION OF PROPERTY: THE E 115 FEET OF LOT 2 BLOCK 52 GARGETT ADDITION TO THE CITY OF ALMA, GRATIOT   COUNTY,
 MICHIGAN


ParceiiD#: 51-343-122-00                         Amount to Redeem as of 01/31/2017          959.21
Property Address: 709 EUCLID ALMA Ml
The following parties may have an interest in this property:
BETTS LINDA MARY
 DESCRIPTION OF PROPERTY: GARGETT ADDITION, LOTS 3 & 4 1 BLOCK 52.

ParceiiD#: 51-343-511-10                          Amount to Redeem as of 01/31/2017       4,867.02
Property Address: 721 E SUPERIOR ST ALMA Ml
The following parties may have an interest in this property:
GREATER GRATIOT DEVELOPMENT
721 E SUPERIOR LLC
DESCRIPTION OF PROPERTY: COM AT 33' NAND 999.5' W OF SECOR 34-12-3 THEN N 80' W 131.89' N 45.89' TO      THE S LINE
OF MICH AVE THEN SW'LY ALONG S LINE OF MICH AVE 37.53' THEN S        105.54' THEN E 163.47' TO BEG; ALSO COM 2 RDS N
AND 1119.5 FT W OF THESE COR    OF SEC 34-12-3, TH N 133.41 FT TO S LINE OF MICHIGAN AVE TH S-WLY ALONG SAID    LINE
TO N LINE OF SUPERIOR ST TH E TO BEG.

ParceiiD#: 51-344-062-00                         Amount to Redeem as of 01/31/2017        7,468.49
Property Address: 412 ORCHARD ST ALMA Ml
The following parties may have an interest in this property:
CARL CORNWELL
HEIMBERGER BRIAN J & KIM B
DESCRIPTION OF PROPERTY: LYMAN COHOON ADDXTION, SEC 34-12-3, LOT 4 1 BLOCK 1.

ParceiiD#: 51-344-548-00                         Amount to Redeem as of 01/31/2017        2,840.07
Property Address: 523 WOODWORTH AVE ALMA Ml
The following parties may have an interest in this property:
VIBBER JEFFREY V & SUSAN M
DESCRIPTION OF PROPERTY: ORIGINAL TOWN, LOT 2, BLOCK 8.

ParceiiD#: 51-344-759-00                         Amount to Redeem as of 01/31/2017         400.48
Property Address: 503 N STATE ST ALMA Ml
The following parties may have an interest in this property:
MERCANTILE BANK
WRIGHT MANSION LLC
DESCRIPTION OF PROPERTY: COM 462 FT N OF SECOR OF SW 1/4 OF SW 1/4 SEC 34-12-3 TH W 229.5 FT N 107.74      FT, E 229.5
FT, S 107.74 FT. TO BEGINNING.                                     OPRA FROZEN PARCEL 970-010-13
OPRA REHAB PARCEL 971-010-13

ParceiiD#: 51-354-262-00                          Amount to Redeem as of 01/31/2017        822.07
Property Address: 832 REPUBLIC AVE ALMA Ml
The following parties may have an interest in this property:
CURTISS THOMAS JR
DESCRIPTION OF PROPERTY: MICHIGAN AVE HTS, SEC 35-12-3, LOT 10 AND N 16 FT OF LOT 9, BLOCK 1.

ParceiiD#: 51-354-304-00                         Amount to Redeem as of 01/31/2017        3,222.42
Property Address: 726 PENNSYLVANIA ALMA Ml
The following parties may have an interest in this property:
DAWN KRANTZ
HOLLIDAY WILLIAM JR. & HEATHER
DESCRIPTION OF PROPERTY: KENSINGTON HEIGHTS SUBDIVISION, SEC 35-12-3, LOT 58.
                                                     PAGE: 32
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ParceiiD#: 51-354-757-00                          Amount to Redeem as of 01/31/2017          765.35
Property Address: 612 BRIDGE AVE ALMA Ml
The following parties may have an interest in this property:
MCCORMICK KEVIN E & NAOMI C
 DESCRIPTION OF PROPERTY: HALL SHARRAR RIVERSIDE, SEC 35-12-3, COM 108 FT N OF SW COR LOT 90, THENCE N    47,2 FT E
 99FT S 20FT W 37.5 FT S 27.2 FT W 61.4 FT TO BEGINNING, BEING A       PART OF LOT 90.

ParceiiD#: 51-354-800-00                          Amount to Redeem as of 01/31/2017        2,222.21
Property Address: 422 HANNAH AVE ALMA Ml
The following parties may have an interest in this property:
SPRINGHILL HOMES LLC
 DESCRIPTION OF PROPERTY: WOODWARD SUBDIVISION, SEC 35-12-3, LOT 45.

Parcel ID#: 52-050-029-07                        Amount to Redeem as of 01/31/2017         8,081.97
Property Address: 1009 S ST JOHNS ST
The following parties may have an interest in this property:
BUECHE MARTIN & ANNE
DESCRIPTION OF PROPERTY: COM AT THE SW COR OF SEC 6 TH NOODEG05'04"E 545.45 FT TO THE POB TH CON
NOODEG05'04"E 359.22 FT TH S89DEG54'56"E 324.56 FT TH S06DEG00'38"E 329 FT TH   S67DEG17'27"W 107.15 FT TH
N87DEG50'41"W 260.88 FT TO THE FOB.   SEC 6 TlON R2W


ParceiiD#: 52-070-029-20                         Amount to Redeem as of 01/31/2017        1,058.65
Property Address: 975 S JEROME RD ITHACA Ml
The following parties may have an interest in this property:
BEARD RENEE
DESCRIPTION OF PROPERTY: WD L 525 P 837 UNPLATTED COM AT SW COR OF SW 1/4 OF SW 1/4, TH N 417.4208 FT, E 521,7760
FT, S 417.4208 FT, W 521.7760 FT TO POB, SEC 1-10-3. 5 A. CITY OF      ITHACA, GRATIOT COUNTY

ParceiiD#: 52-103-002-00                         Amount to Redeem as of 01/31/2017        1,515.59
Property Address: 528 E EMERSON ST ITHACA Ml
The following parties may have an interest in this property:
RYKERT JOHN E
DESCRIPTION OF PROPERTY: T. S. BARNES' ADDITION TO ITHACA LOT 2 BLOCK 3.

ParceiiD#: 52-155-005-00                         Amount to Redeem as of 01/31/2017        2,164.04
Property Address: 810 E ARCADA ST ITHACA Ml
The following parties may have an interest in this property:
INTERNAL REVENUE SERVICE
WILLIAMS DALE E
DESCRIPTION OF PROPERTY: WD L 518 P 986 CHURCH'S ADDITION TO THE CITY OF ITHACA LOT 5 1 BLK 5.

ParceiiD#: 52-403-005-00                         Amount to Redeem as of 01/31/2017        2,087.21
Property Address: 120 N ST JOHNS ST ITHACA Ml
The following parties may have an interest in this property:
EVANS TERRY L & PATRICIA A
DESCRIPTION OF PROPERTY: WD L 505 P 337 NORTHEAST ITHACA LOT 5 & S 4 FT OF LOT 6 BLOCK C. PROPERTY       ADDRESS:
120 NORTH ST JOHNS STREET

ParceiiD#: 52-502-004-00                         Amount to Redeem as of 01/31/2017        1,963.86
Property Address: 802 E CENTER ST ITHACA Ml
The following parties may have an interest in this property:
MILLER KELLY D & MILLER LEAH M
DESCRIPTION OF PROPERTY: WD L 610 P 588 POTTS & CRAWFORD ADDITION TO THE CITY OF ITHACA LOTS 4 & 5 BLOCK 2.

ParceiiD#: 52-502-007-00                          Amount to Redeem as of 01/31/2017       2,640.32
PropertY Address: 813 E NEWARK ST ITHACA Ml
The following parties may have an interest in this property:
BILLY & MALINDA MORGAN
                                                       PAGE: 33
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 INTERNAL REVENUE SERVICE
 RANGELAND ENTERPRISES, LLC
 RHYNARD JON L
 DESCRIPTION OF PROPERTY: POTTS & CRAWFORD ADDITION TO THE CITY OF ITHACA LOTS 7 & 8 BLOCK 2.

ParceiiD#: 52-555-026-00                         Amount to Redeem as of 01/31/2017        1,540.55
Property Address: 225 S NELSON ST ITHACA Ml
The following parties may have an interest in this property:
FLEGEL DAVID
INTERNAL REVENUE SERVICE
SYCH GARY L
DESCRIPTION OF PROPERTY: WD L 440 P 640 CLARKE'S REPLAT OF POTTS & CRAWFORD ADDITION TO THE CITY OF   ITHACA LOTS
26 & 27 BLOCK 5.


ParceiiD#: 52-558-001-10                         Amount to Redeem as of 01/31/2017        2,693.23
Property Address: 708 E SOUTH ST ITHACA Ml
The following parties may have an interest in this property:
IRS ADVISORY GROUP
IRS ADVISORY GROUP
WILLIAMS DALE EUGENE & MARY ANN
DESCRIPTION OF PROPERTY: WD L 451 P 73 CLARKE'S REPLAT OF POTTS & CRAWFORD ADDITION TO THE CITY OF    ITHACA LOTS
1, 2 & 3 & W 3 FT OF LOT 4, BLOCK 8.

ParceiiD#: 52-558-001-20                         Amount to Redeem as of 01/31/2017        2,686.30
Property Address: 710 E SOUTH ST ITHACA Ml
The following parties may have an interest in this property:
IRS ADVISORY GROUP
IRS ADVISORY GROUP
WILLIAMS DALE EUGENE & MARY ANN
DESCRIPTION OF PROPERTY: WD L 451 P 73 CLARKE'S REPLAT OF POTTS & CRAWFORD ADDITION TO THE CITY OF    ITHACA E
28.75 FT OF LOT 4, LOTS 5 & 6, & W 8.25 FT OF ALLEY, BLOCK 8.

ParceiiD#: 52-558-001-30                         Amount to Redeem as of 01/31/2017        2,617.84
Property Address: 714 E SOUTH ST ITHACA Ml
The following parties may have an interest in this property:
INTERNAL REVENUE SERVICE
WILLIAMS DALE EUGENE & MARY ANN
DESCRIPTION OF PROPERTY: WD L 451 P 73 CLARKE'S REPLAT OF POTTS & CRAWFORD ADDITION TO THE CITY OF    ITHACA E 3
FT OF LOT 9 & ALL OF LOTS 10, 11 & 12, BLOCK 8,

ParceiiD#: 52-655-076-00                         Amount to Redeem as of 01/31/2017        2,964.99
Property Address: 515 N MAPLE ST ITHACA Ml
The following parties may have an interest in this property:
HEIMBERGER BRIAN
DESCRIPTION OF PROPERTY: WD L 447 P 1156 SUPERVISOR'S PLAT OF THE CITY OF ITHACA LOT 76 DIVISION E.

Parcel ID#: 52-655-090-00                        Amount to Redeem as of 01/31/2017        1,224.05
Property Address: 427 N ELM ST ITHACA Ml
The following parties may have an interest in this property:
KINKEAD LAWRENCE R & MARY M
DESCRIPTION OF PROPERTY: WD L 447 P 1071 SUPERVISOR'S PLAT OF THE CITY OF ITHACA LOT 90 DIVISION E.

ParceiiD#: 52-655-093-00                         Amount to Redeem as of 01/31/2017         434.31
Property Address: 427 N ELM ST VAC ITHACA Ml
The following parties may have an interest in this property:

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KINKEAD LAWRENCE R & MARY M
           Case
 DESCRIPTION     1:19-cv-11887-TLL-PTM
             OF PROPERTY:                     ECF No.PLAT
                          WD L 447 P 1071 SUPERVISOR'S 1-2,OFPageID.57
                                                              THE CITY OF Filed
                                                                          ITHACA 06/25/19
                                                                                  N 2 RODS OFPage
                                                                                              LOT 9335 of 37
                                                                                                          DIVISION E.

Parcel 10#: 52-663-057-80                         Amount to Redeem as of 01/31/2017           2,138.89
Property Address: 221 SST JOHNS ST ITHACA Ml
The following parties may have an interest in this property:
BOSLEY JOSEPH W
 DESCRIPTION OF PROPERTY: SUPERVISOR'S PLAT OF THE CITY OF ITHACA LOT 58, ALSO S 18 FT OF LOT 57,            DIVISION M.

Parcel 10#: 52-702-002-00                        Amount to Redeem as of 01/31/2017            3,333.05
Property Address: 321 N MAPLE ST ITHACA Ml
The following parties may have an interest in this property:
VENTOCILLA SAMUEL STEPHEN
 DESCRIPTION OF PROPERTY: UPPER ITHACA LOT 2 BLOCK 2.

Parcel 10#: 53-010-017-00                        Amount to Redeem as of 01/31/2017            1,006.72
Property Address: 310 N DELAWARE ST SAINT LOUIS Ml
The following parties may have an interest in this property:
PEACOCK JEANNE & MILFORD
 DESCRIPTION OF PROPERTY: LOT 4 BLOCK 27 CITY OF ST LOUIS. PROPERTY ADDRESS 310 NORTH DELAWARE STREET

Parcel 10#: 53-010-049-00                         Amount to Redeem as of 01/31/2017          5,008.32
Property Address: 324 W WASHINGTON AVE SAINT LOUIS Ml
The following parties may have an interest in this property:
JOHN D & KATHLEEN M PAVLIK
KOLAR DONNA L
DESCRIPTION OF PROPERTY: WD L 474 P 374 W 122 FT OF LOTS 5 & 6, BLOCK 29, CITY OF ST LOUIS. PROPERTY         ADDRESS 324
WEST WASHINGTON AVENUE

Parcel 10#: 53-010-229-00                        Amount to Redeem as of 01/31/2017             107.50
Property Address: 116 S MAIN ST SAINT LOUIS Ml
The following parties may have an interest in this property:
CHEMICAL BANK
CHEMICAL BANK
DOAN TAMMY A
DESCRIPTION OF PROPERTY: LOT 9, BLOCK 40 CITY OF ST LOUIS. PROPERTY ADDRESS 116 SOUTH MAIN STREET

Parcel 10#: 53-010-366-00                        Amount to Redeem as of 01/31/2017           1,280.80
Property Address: 535 CORINTH ST SAINT LOUIS Ml
The following parties may have an interest in this property:
SMITH LYNETTE
DESCRIPTION OF PROPERTY: COM 659.06 FT N OF SE COR OF W 1/2 OF NE 1/4 OF SEC 24 TO S'LY ROW LINE OF    OLIVE ST
EXTENDED, TH N 64 DEG 34' W 36.54 FT TOW ROW LINE OF CORINTH ST, S 33 DEG 55' 09" W 57.47 FT, W 116FT, S 66FT, E
TOW ROW LINE OF CORINTH ST, N TO POB, SEC 24-12-3, CITY OF ST LOUIS. PROPERTY ADDRESS 535 NORTH CORINTH STREET

Parcel 10#: 53-100-024-00                         Amount to Redeem as of 01/31/2017            689.17
Property Address: 426 S MAPLE ST VAC SAINT LOUIS Ml
The following parties may have an interest in this property:
STATE OF MICHIGAN
FOX THOMAS
DESCRIPTION OF PROPERTY: WD L 578 P 632 JOHN R CHEESMAN PLAT OF STLOUIS LOT 6 BLOCK 4. 426 SOUTH MAPLE       STREET

Parcel ID#: 53-100-034-00                        Amount to Redeem as of 01/31/2017           3,552.26
Property Address: 406 S MILL ST SAINT LOUIS Ml
The following parties may have an interest in this property:
HUNTER FINANCIAL
WILSON BRUCE & PAMELA
DESCRIPTION OF PROPERTY: WD L 613
ADDRESS 406 SOUTH MILL STREET
                                    p
                                                       PAGE: 35
                                        151 JOHN R CHEESMAN PLAT OF ST LOUIS LOT 2 & N 16 FT OF LOT 3, BLOCK 6. PROPERTY
          Case 1:19-cv-11887-TLL-PTM ECF No. 1-2, PageID.58 Filed 06/25/19 Page 36 of 37
ParceiiD#: 53-100-035-00                         Amount to Redeem as of 01/31/2017          820.65
Property Address: S MILL ST VACANT SAINT LOUIS Ml
The following parties may have an interest in this property:
HUNTER FINANCIAL
WILSON BRUCE & PAMELA
 DESCRIPTION OF PROPERTY: WD L 613 P 151 JOHN R CHEESMAN PLAT OF ST LOUIS LOT 4 & S 50 FT OF LOT 3, BLOCK 6.

ParceiiD#: 53-100-040-00                         Amount to Redeem as of 01/31/2017        1,363.35
Property Address: 201 CHESTNUT ST SAINT LOUIS Ml
The following parties may have an interest in this property:
KOUTZ ALAN & LINDA
 DESCRIPTION OF PROPERTY: JOHN R CHEESMAN PLAT OF STLOUIS LOTS 1 & 2 BLOCK 7. 201 CHESTNUT STREET

ParceiiD#: 53-100-052-00                         Amount to Redeem as of 01/31/2017        1,112.07
Property Address: 607 S MILL ST SAINT LOUIS Ml
The following parties may have an interest in this property:
MICHIGAN DEPT OF TREASURY
GOODWIN THOMAS
DESCRIPTION OF PROPERTY: WD L 519 P 1160 JOHN R. CHEESMAN PLAT OF SAINT LOUIS LOT 3 BLOCK 11. PROPERTY    ADDRESS 607
SOUTH MILL STREET

ParceiiD#: 53-100-062-00                         Amount to Redeem as of 01/31/2017        2,071.09
Property Address: 501 S MAPLE ST SAINT LOUIS Ml
The following parties may have an interest in this property:
CHEMICAL BANK
STATE OF MICHIGAN
FOX THOMAS
DESCRIPTION OF PROPERTY: WD L 570 P 1343 JOHN R. CHEESMAN PLAT OF SAINT LOUIS N 50 FT OF LOT 1 BLOCK 14   & W 33 FT
OF VACATED CENTRAL ST ADJACENT TO E SIDE OF SO 50 FT. PROPERTY        ADDRESS 501 SOUTH MAPLE STREET

Parcel ID#: 53-1 00-068-00                       Amount to Redeem as of 01/31/2017          623.10
Property Address: VACANT SAINT LOUIS Ml
The following parties may have an interest in this property:
STATE OF MICHIGAN
FOX THOMAS
DESCRIPTION OF PROPERTY: JOHN R CHEESMAN PLAT OF ST LOUIS LOT 1 BLOCK 15.

ParceiiD#: 53-100-069-00                         Amount to Redeem as of 01/31/2017        2,202.01
Property Address: 506 S MAPLE ST SAINT LOUIS Ml
The following parties may have an interest in this property:
STATE OF MICHIGAN
FOX THOMAS
DESCRIPTION OF PROPERTY: JOHN R CHEESMAN PLAT OF ST LOUIS LOT 2 BLOCK 15. 506 SOUTH MAPLE STREET

ParceiiD#: 53-350-075-00                         Amount to Redeem as of 01/31/2017        2,513.57
Property Address: 311 S EUCLID ST SAINT LOUIS Ml
The following parties may have an interest in this property:
MFFL, LLC
COAST ANGELS LC FUND, LLC
DESCRIPTION OF PROPERTY: WD L 458 P 1259 S S HASTINGS' ADDITION LOT 3 BLOCK 14. PROPERTY ADDRESS 311      SOUTH
EUCLID STREET

ParceiiD#: 53-500-009-00                         Amount to Redeem as of 01/31/2017        3,098.98
Property Address: 502 W CENTER ST SAINT LOUIS Ml
The following parties may have an interest in this property:
S & R-ST LOUIS LLC                                    PAGE: 36
           Case
 DESCRIPTION     1:19-cv-11887-TLL-PTM
             OF PROPERTY:                     ECF
                          WD L 497 P 286 HOLCOMB    No. 1-2,
                                                 & EVANS     PageID.59
                                                         ADDITION LOTS 7 & Filed 06/25/19
                                                                           8 BLOCK           Page
                                                                                   72. PROPERTY    37 of 37
                                                                                                ADDRESS  502 WEST
 CENTER STREET


ParceiiD#: 53-500-031-00                          Amount to Redeem as of 01/31/2017       2,112.50
Property Address: 212 N BANKSON ST SAINT LOUIS Ml
The following parties may have an interest in this property:
HOLBROOK RAY A & LINDA LOU
SPENCER BRANDl & PESKA WILLIAM
DESCRIPTION OF PROPERTY: WD L 520 P 218 HOLCOMB & EVANS ADDITION LOT 4 BLOCK 74. PROPERTY ADDRESS 212     NORTH
BANKSON STREET


ParceiiD#: 53-500-115-00                         Amount to Redeem as of 01/31/2017        1,697.35
Property Address: 219 S BANKSON ST SAINT LOUIS Ml
The following parties may have an interest in this property:
CHASE
FUENTES JOE & JOANNA
DESCRIPTION OF PROPERTY: WD L 510 P 390 HOLCOMB & EVANS ADDITION LOT 6 & S 40 FT OF LOT 5 BLOCK 81.       PROPERTY
ADDRESS 219 SOUTH BANKSON STREET


ParceiiD#: 53-650-002-00                         Amount to Redeem as of 01/31/2017        1,515.17
Property Address: 205 S MAIN ST SAINT LOUIS Ml
The following parties may have an interest in this property:
UPDEGRAFF RAY W
DESCRIPTION OF PROPERTY: WD L 597 P 748 JAMES F NEWTONS ADDITION COM AT NW COR OF LOT 2, TH E 6 1/2 RDS, S 4 RDS, W
6 1/2 RDS, N 4 RDS TO BEG, BLOCK 43, PROPERTY ADDRESS 205 SOUTH MAIN STREET


ParceiiD#: 53-650-044-00                          Amount to Redeem as of 01/31/2017      2,820.38
Property Address: 219 S CLINTON ST SAINT LOUIS Ml
The following parties may have an interest in this property:
UPDEGRAFFJOSALYN
DESCRIPTION OF PROPERTY: WD L 591 P 244 JAMES F NEWTONS ADDITION LOTS 5 & 6, BLOCK 52. PROPERTY ADDRESS   219 SOUTH
CLINTON STREET


ParceiiD#: 53-700-016-00                         Amount to Redeem as of 01/31/2017         783.73
Property Address: WELLAND AVE VACANT SAINT LOUIS Ml
The following parties may have an interest in this property:
CHEMICAL BANK
BRADY ROBERT M
DESCRIPTION OF PROPERTY: WD L 559 P 248 SCENIC HEIGHTS CITY OF ST. LOUIS LOTS 1 TO 8 INC. BLOCK 3.


ParceiiD#: 53-700-020-00                         Amount to Redeem as of 01/31/2017         600.25
Property Address: MICHIGAN AVE VACANT SAINT LOUIS Ml
The following parties may have an interest in this property:
CHEMICAL BANK
BRADY ROBERT M
DESCRIPTION OF PROPERTY: WD L 559 P 248 SCENIC HEIGHTS CITY OF ST. LOUIS LOTS 16 TO 25 INC. BLOCK 3.


ParceiiD#: 53-860-001-00                         Amount to Redeem as of 01/31/2017      24,712.35
Property Address: 400 WOODSIDE DR SAINT LOUIS Ml
The following parties may have an interest in this property:
LAWRENCE & DOROTHY LIPPERT
CRIPPEN MANUFACTURING COMPANY
DESCRIPTION OF PROPERTY: WD L 565 P 174 WOODSIDE INDUSTRIAL CENTER LOTS 1, 2, & 3.                       IFT REVOKED
BY STATE 9-7-06. TRANSFERED IFT 95-743 ON 11-28-06.                 PERSONAL PROPERTY #900-003-10 & 900-001-20




                                                   PAGE: 37
